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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION


                                     )
  UBIQUITY, INC.,                    )
                                     )
             Plaintiff,              )                     Civil Action No. 1:22-CV-00353
                                     )
  v.                                 )
                                     )
  BRIAN KREBS and KREBS ON SECURITY, )
  LLC,
                                     )
                 Defendants.


  DECLARATION IN SUPPORT OF APPLICATION OF MARC JOHN RANDAZZA TO
    QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D)

 I, Marc John Randazza, supplement my application to qualify as a foreign attorney as follows:

        1.      I am an attorney with the law firm of Randazza Legal Group, counsel for Brian

    Krebs and Krebs on Security, LLC, in the above-captioned action. I submit this Supplement in

    support of the Application pursuant to Local Civil Rule 83.1(D) for my pro hac vice admission

    to the bar of this Court.

    2. My full name is Marc John Randazza.

    3. My office address and telephone number are as follows:

                Randazza Legal Group, PLLC
                30 Western Avenue
                Gloucester, MA 01930
                Telephone: 702-420-2001

        4.      I am admitted to the state and federal bars as set forth in Exhibit 1 and I am

    qualified and licensed to practice before the same.

        5.      I fully meet the requirements of Local Civil Rule 83.1(D) in that the rules of the

    United States District Court for the District of Nevada, the district in which I maintain an



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    office, extends a similar privilege of practicing pro hac vice to members of the bar of this

    Court; and I will be accompanied by a member of the bar of this Court in all appearances before

    this Court.

       6.         The Court’s form, however, adds the requirement that I state that “I have not been

    reprimanded in any court nor has there been any action in any court pertaining to my conduct

    or fitness as a member of the bar.”         I have modified that form to ensure there is no

    misrepresentation.

       7.         Specifically, I was disciplined by one jurisdiction (Nevada) and then subject to

    reciprocal discipline for conduct of more than nine years ago. The last jurisdiction to enter

    reciprocal discipline was Florida, which instead of merely adopting the underlying Nevada

    stipulated discipline, engaged in its own full fact finding and issued a full independent opinion

    after a bench trial. The Florida Referee’s decision is attached as Exhibit 2. The factfinder

    determined that I did not do anything “actually adverse” to my clients. See id. at 6. And there

    were no “factors in aggravation warranting any discipline in excess of that imposed by

    Nevada.” Id. at 8.

       8.         In 2018, I was disciplined by the Supreme Court of Nevada for conduct that

    occurred in 2012. See Exhibit 3, In re Marc J. Randazza, Bar No. 12265, No. 76543 (Nev.

    Oct. 10, 2018) (Order Approving Conditional Guilty Plea) and Exhibit 4 (Conditional Guilty

    Plea). The stipulated and implemented discipline was a twelve-month suspension, stayed for

    eighteen months, with certain other conditions. See Exhibits 3 & 4. All rehabilitative

    conditions have been met.




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       9.      The Nevada discipline arose from a negotiated agreement between myself and the

    Southern Nevada Disciplinary Board. The stipulated facts forming the basis of the discipline

    are as set forth in the enclosed Conditional Guilty Plea.

       10.     As set forth in the Conditional Guilty Plea, the discipline arose from a specific

    circumstance where I represented a company as in-house counsel, along with its sister entity.

    Those circumstances will not repeat themselves as I am not in-house counsel for any clients

    and I now recognizes where I misunderstood my ethical obligations.

       11.     I fully complied with the State of Nevada discipline and completed my Nevada

    probation. See Exhibit 5, Letter from State Bar of Nevada.

       12.     Reciprocal discipline in the nature of a probation or stayed suspension was imposed

    by the State of Arizona, the State of Florida, the Commonwealth of Massachusetts, and the

    State of California. See Exhibits 6, 2, 7 and 8. I fully completed the terms of discipline in

    Arizona, California, and Massachusetts and no suspensions were imposed. See Exhibits 9 &

    10. Among its requirements, California required me to retake the MPRE, wherein I scored a

    119. See Exhibit 11. The required score was 86.

       13.     Reciprocal discipline of probation or a stayed suspension was imposed by the U.S.

    District Courts for the District of Massachusetts and for the Southern District of Florida (which

    probation expired before the discipline issued), and by the U.S. Patent & Trademark Office.

    See Exhibits 12, 13, and 14. The District of Massachusetts terminated proceedings on June

    23, 2020, without imposing a suspension. See Exhibit 15. The discipline imposed by the PTO

    expired on January 23, 2021.




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          14.    Reciprocal discipline in the nature of a brief active suspension was imposed by the

      U.S. District Court for the District of Nevada, which expired on April 10, 2020.            See

      Exhibit 16. I was reinstated on June 9, 2020. See Exhibit 17.

          15.    The U.S. Court of Appeals for the Federal Circuit stayed all proceedings pending

      the completion of the Nevada discipline and terminated proceedings on May 28, 2020 without

      imposing discipline. See Exhibit 18.

          16.    Every other state court, Federal court, or Federal agency to issue a determination in

      response to the Nevada state discipline has either declined to take action, stayed all

      proceedings, or issued a stayed suspension or probation, or has readmitted me.

          17.    I am aware of no other matters in which I have been sanctioned or disciplined.

          I declare under penalty of perjury that the foregoing is true and correct.




   Executed at Gloucester, Massachusetts on this 9th day of May, 2022.




                                                 Marc J. Rand'2za
                                                 Randazza Legal Group, PLLC
                                                 30 Western Avenue
                                                 Gloucester, MA 01930
                                                 Telephone: 702-420-2001
                                                 ecf@randazza.com




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                                 Exhibit
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                                   Marc J. Randazza, Esq.
                                       State Bar Admissions
                                                     Date of                   Good
                           State                   Admission        Bar No.   Standing
          Commonwealth of Massachusetts               01/24/2002    651477       Yes
          State of Florida                            03/25/2003    625566       Yes
          State of California                         05/20/2010    269535       Yes
          State of Arizona                            08/26/2010    027861       Yes
          State of Nevada                             01/06/2012     12265       Yes

                                     Federal Court Admissions
                                                                      Date of      Good
                             Title of Court                          Admission    Standing
      Supreme Court of the United States                            02/28/2005         Yes
      U.S. Court of Appeals for the First Circuit                   05/08/2003         Yes
      U.S. Court of Appeals for the Second Circuit                  08/14/2018         Yes
      U.S. Court of Appeals for the Fourth Circuit                  11/06/2015         Yes
      U.S. Court of Appeals for the Fifth Circuit                   06/23/2021         Yes
      U.S. Court of Appeals for the Sixth Circuit                   07/30/2013         Yes
      U.S. Court of Appeals for the Seventh Circuit                 11/06/2009         Yes
      U.S. Court of Appeals for the Ninth Circuit                   09/04/2009         Yes
      U.S. Court of Appeals for the Tenth Circuit                   11/03/2011         Yes
      U.S. Court of Appeals for the Eleventh Circuit                06/20/2003         Yes
      U.S. Court of Appeals for the Federal Circuit                 09/01/2006         Yes
      U.S. District Court for the District of Massachusetts         06/12/2002         Yes
      U.S. District Court for the Northern District of Florida      05/17/2005         Yes
      U.S. District Court for the Middle District of Florida        06/09/2003         Yes
      U.S. District Court for the Southern District of Florida      08/04/2006         Yes
      U.S. District Court for the Northern District of Texas        11/12/2009         Yes
      U.S. District Court for the Western District of Texas         06/30/2021         Yes
      U.S. District Court for the Eastern District of California    06/08/2010         Yes
      U.S. District Court for the Southern District of California   06/08/2010         Yes
      U.S. District Court for the Central District of California    06/08/2010         Yes
      U.S. District Court for the Northern District of California   06/22/2010         Yes
      U.S. District Court for the District of Arizona               10/19/2010         Yes
      U.S. District Court for the District of Colorado              03/28/2011         Yes
      U.S. District Court for the District of Nevada                02/01/2012         Yes
      U.S. District Court for the Eastern District of Wisconsin     06/18/2010         Yes
      U.S. District Court for the Northern District of Ohio         02/13/2012         Yes
      U.S. District Court for the Eastern District of Michigan      06/30/2009         Yes
      U.S. District Court for the District of Columbia              09/13/2021         Yes
      U.S. Bankruptcy Court Eastern District California             07/01/2021         Yes




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                                    Exhibit
                 The Florida Bar Referee’s Report and Supreme Court Order
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                       IN THE SUPREME COURT OF FLORIDA
                                 (Before a Referee)


  THE FLORIDA BAR,                           Supreme Court Case
                                             No. SC19-188
        Complainant,
                                             The Florida Bar File
  V.                                         No. 2020-00,216(2B) NFC

  MARC JOHN RANDAZZA,

        Respondent.

   --------------~                            I

                               REPORT OF REFEREE

   I. SUMMARY OF PROCEEDINGS

         Pursuant to the undersigned being duly appointed as referee to conduct

   disciplinary proceedings herein according to Rule 3-7 .6, Rules of Discipline, the

   following proceedings occurred:

         This is a reciprocal discipline case. The Respondent filed The Notice of

   Discipline by a Foreign Jurisdiction (Nevada) in the Florida Supreme Court and

   had as attachments the Nevada Order Approving a Conditional Guilty Plea and the

   underlying Conditional Guilty Plea. Respondent's Exhibit 3; Tr. Vol. II, page 235,

   lines 8-10. On January 6, 2019, The Florida Bar filed its Formal Complaint against

   Respondent. On February 19, 2019, The Florida Bar noticed respondent that a

   case Management Conference would be conducted by the referee on March 8,

   2019. On May 3, 2019, the referee commenced the Final Hearing in this matter.
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   Mr. Fisher, counsel for The Florida Bar, Mr. Weiss, counsel for the Respondent

   and the Respondent, Mr. Randazza, were present. Needing additional time to

   conclude the Final Hearing, the parties rescheduled the second day. Due to events

   beyond everyone's control, the Final Hearing was rescheduled again. The second

   day of the Final Hearing convened on January 8, 2020. All items properly filed

   including pleadings and exhibits in evidence and the report of referee constitute the

   record in this case and are forwarded to the Supreme Court of Florida.

   IL FINDINGS OF FACT

         Jurisdictional Statement. Respondent is, and at all times mentioned during

   this investigation was a member of The Florida Bar subject to the jurisdiction and

   Disciplinary Rules of the Supreme Court of Florida.

         Narrative Summary Of Case.

         Because this is a reciprocal discipline action, it is based on the Findings of

   Fact, Conclusions of Law and Recommendation of the Southern Nevada

   Disciplinary Board of the State Bar of Nevada dated July 10, 2018 and Order

   Approving Conditional Guilty Plea Agreement of the Supreme Court of the State

   of Nevada, dated October 10, 2018. The Supreme Court of the State of Nevada

   imposed a 12 month suspension, stayed for 18 months of probation subject to

   conditions. Those findings of fact and Order are attached to The Florida Bar's

   Formal Complaint.



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         In or about June 2009, the Respondent drafted and signed a Legal Services

   Agreement with Excelsior Media Corp. (Excelsior) which provided that the

   Respondent would become "in-house" general counsel. The Agreement did not

   prohibit the Respondent from maintaining ad private practice or providing legal

   services to other clients so long as there was no conflict of interest with Excelsior.

   Excelsior had a subsidiary or affiliate company, Liberty Media Holdings, LLC

   (Liberty), which engaged in the production and distribution of pornography. The

   Respondent provided legal services to both entities, but did not have a separate
          '
   agreement with Liberty.

         In February 2011, Excelsior relocated its corporate offices to Las Vegas,

   Nevada. The Respondent followed in June 2011 and was admitted to the Nevada

   Bar in January 2012. Until his admission, the Respondent did not engage in the

   practice oflaw in the State of Nevada, except as a member of the bar of the U.S.

   District Court for the District of Nevada.

         On or about June 20, 2012, the Respondent filed a lawsuit against FF

   Magnat Limited d/b/a Oran.com (Oran) for alleged violations of Liberty's

   intellectual property. On or about June 21, 2012, the Respondent obtained and

   injunction against Oron freezing certain accounts and funds of Oran. On July 1,

   2012, the Respondent and attorneys for Oron signed a Settlement Letter with

   regard to the Oron litigation and a similar case between the two parties in Hong



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   Kong. The parties agreed that Oron would pay Liberty $550,000 payable to the

   Respondent's trust account. A dispute arose after the Settlement Letter was

   signed. Liberty filed a Motion to Enforce the settlement letter which the United

   States District Court granted on August 7, 2012. Liberty obtained a Judgment

   against Oron for $550,000. As part of the Post-Judgment settlement negotiations,

   Oron informed the Respondent that it wanted to enter into an agreement to

   retainthe Respondent for bona fide legal services. Specifically, Oron wanted the

   Respondent to advise it how to avoid this type of litigation in the future and how to

   restructure the company so as to not be subject to jurisdiction in the United States.

   Tr. II, page 215, lines 2-25, 216, lines 1-14. Subject to the agreement of Liberty

   and its execution of a Post-Judgment agreement, the Respondent negotiated a

   separate agreement with Oron whereby he would receive $75,000 ofOron's frozen

   funds. On August 6, 2012, while still in litigation representing Excelsior against

   Oron, the Respondent executed a $75,000 non-refundable, "earned upon receipt

   retainer" to represent FF Magnat, the parent company ofOron. Tr. II, page 254,

   lines 17-28 and page 258, lines 8-14, The retainer agreement clearly stated that it

   could not take effect unless and until Liberty's dispute with Oron was fully

   resolved. See Transcript, Vol. 11,at 215:20-216: 1 & 239:25-240:7. The

   Respondent presented and subsequently discussed the Post-Judgment Agreement,

   which included payment of the $550,000 and the $75,000 retainer for future



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   services with Oron, with the CEO of Liberty, Mr. Gibson. The agreement was

   never consummated because Mr. Gibson disapproved it. Tr. II, page 214-216, line

   14; 217, lines 3-7. The Respondent did not receive the retainer fee of $75,000.

         On August 21, 2012, the Court ordered Pay Pal, Inc. to transfer $550,000 of

   Oron funds to the Randazza Legal Group trust account. A full and proper

   accounting occurred with Liberty receiving its share.

         Concurrent with the United States litigation between Liberty and Oron, the

   Respondent and Mr. Gibson also discussed pursuing litigation against Oron and/or

   its affiliates in Hong Kong. The Respondent estimated those costs, excluding

   attorney's fees, to be approximately $50,000. Mr. Gibson said Liberty to advance

   $25,000 if the Respondent would personally advance $25,000. The Respondent

   agreed and requested and Liberty executed a promissory note to him for $25,000.

   The Respondent did not advise Liberty, in writing, to seek the advice of

   independent counsel regarding the promissory note. The Respondent and

   Excelsior parted ways on or about August 29, 2012. They dispute whether he

   resigned or was terminated.

         Following his departure from Excelsior, the Respondent engaged in

   litigation against Excelsior, Liberty and Jason Gibson, individually over among

   other things money he alleged was owed to him by his former employers. The

   parties submitted the matter to arbitration. After a five day trial, the Arbitrator



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   issued an Interim Arbitration award (IAA) in favor of the employers and against

   the Respondent. The Florida Bar's Exhibit 1. The Referee does not give any

   weight to the IAA for several reasons. First, the IAA was vacated in its entirety,

   after a court refused to confirm it, by voluntary agreement and by order of a court

   of competent jurisdiction. Respondent's Exhibit 12; Tr. Vol. II, page 196, lines 18-

   23. Second, the burden of proof for the IAA is a preponderance of the evidence,

   not the clear and convincing standard as required by these proceedings. Third, the

   Arbitrator's findings thatthe Respondent engaged in unethical conduct based on

   testimony and evidence that occurred over a five day trial and that has not been

   presented or observed by this Referee are of little weight. The IAA was not a basis

   for any discipline by the State Bar of Nevada. While the Referee may be

   sympathetic to the amount of time, energy and money that the Respondent's

   employers spent to litigate the IAA issues, sympathy should play no part in the

   Referee's recommendation.

         The Florida Bar argued and presented evidence of other alleged conflicts of

   interest engaged in by the Respondent when he represented other clients whose

   interests were allegedly adverse to Excelsior or Liberty. There is no clear and

   convincing evidence to suggest that anything the Respondent may have done on

   behalf of his other clients was actually adverse to Excelsior or Liberty. The

   Respondent testified it was not. Tr. II, page 203, line 1-204, line 24 and 246, line



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   4-248, line 7. The Respondent was authorized under his employment agreement to

   do so. Tr. Vol. II, page 198: 23-25. The Florida Bar's witness, Mr. Dunlap,

   offered no examples of a single matter where such representation was adverse. Tr.

   Vol. II, page 281, line 23-284, line 23. The only instance in which there was a

   conceivable conflict was with respect to the representation ofXVideos, but as soon

   as a potential conflict arose, Respondent acted to withdraw and the conflict never

   ripened. Tr. Vol. II, page 248, linesl-7. Mr. Dunlap's testimony regarding 10

   Group fails to show that the Respondent represented 10 Group in that transaction.

   There was no conflict of interest where he briefly represented 10 Group regarding

   an unrelated litigation matter. The Nevada bar investigated these conflicts and no

   such conflicts were found. Tr. Vol. II, page 265, lines 3-11.

         Since the imposition of the Nevada Order, every other state in which

   Respondent is admitted has issued reciprocal discipline tracking the Nevada Order.

   Specifically:

          1.    Arizona: The Presiding Disciplinary Judge issued a Final Judgment
   and Order of Reprimand and Probation placing Mr. Randazza on 18 months of
   probation, concurrent with the Nevada discipline. Respondent's Exhibit 4; Tr. Vol.
   II, page 189, line 11-13.

          2.    California: The Supreme Court of California issued a one-year
   suspension, stayed for one year, to be terminated upon satisfying the terms of the
   stay, which includes quarterly reporting and passing the MPRE. Respondent's
   Exhibit 9; Tr.Vol. II, page 188, lines 15-24

        3.     Massachusetts: The Supreme Judicial Court issued an Order of Term
   Suspension/Stayed, suspending Mr. Randazza for 12 months, stayed for 18

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   months, retroactive to the date of the Nevada discipline, with the suspension to be
   lifted upon compliance with the Nevada Order. Respondent's Exhibit 1O;Tr. Vol.
   II, page 189, lines5-10.

         None of these jurisdictions found any factors in aggravation warranting any

   discipline in excess of that imposed by Nevada. Tr.Vol. II, page 224, line22-225,,

   line 11. To date, Respondent's right to practice law has not been suspended.

         Additionally, proceeding in the Federal Appellate Courts (10th , 11th and

   Federal Circuit) all deferred to the Nevada Order. Respondent's Exhibit 4. The
                                                                                       nd
   Supreme Court of the United States and the U.S. Courts of Appeals for the l '\ 2         ,


   41\ 61\ 7th and 9th Circuits to date, have not taken any action despite timely notice.

   Tr. Vol. II, page 241, lines 2-9.

         Despite being put on notice of the Nevada Order, the U.S. District Courts for

   the Northern & Middle Districts of Florida, the Northern District of Texas, the

   Northern, Central, Eastern, & Southern Districts of California, the Eastern District

   of Wisconsin, the Eastern District of Michigan, the Northern District of Ohio, and

   the District of Montana (admitted pro hac vice) have taken no action toward

   reciprocal discipline. Tr. Vol. II, page 241, lines 2-9. The matter was referred to an

   investigatory subcommittee of the Ad Hoc Committee on Attorney Admissions,

   Peer Review and Attorney Grievance of the U.S. District Court for the Southern

   District of Florida following Respondent's response to a show cause order. Since

   the Final Hearing, on May 8, 2020, the U.S. District Court for the Southern District



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   of Florida adopted the disciplinary measures imposed by Nevada. See In re: Marc

   John Randazza, Case No. 18 MC 25230 (S.D. Fla. Feb. 6, 2019). This document

   is of record pursuant to the granting of the Respondent's Motion to Supplement the

   Record. The U.S. District Court for the District of Massachusetts, upon the consent

   of Respondent, imposed reciprocal discipline in the nature of a 12-month
                       .
   suspension, stayed for 18 months, retroactive to October 10, 2018, conditioned

   upon compliance with the Nevada Order. See Respondent's Exhibit 4, In re: Marc.

   J Randazza, Misc. Bus. Diet. No. 18-mc-81490-FDS (D. Mass. sept. 26, 2019).

         Only the U.S. District Court for the District of Nevada, which did not act on

   the prompt notice of the Nevada Order until September 2019, issued an order

   placing the Respondent on active suspension until the expiration of the Nevada

   state probation, subject to reinstatement upon discharging all conditions. See In re:

   Marc J. Randazza, Case No. 2: 19-cv-01765-MMD (D. Nev. Oct. 22, 2019). The

   reason given was that the court had "neither the obligation, resources, nor

   inclination to monitor Mr. Randazza's compliance with the probationary conditions

   the [Nevada Supreme Court] imposed on him." Id. at 1; Tr. Vol. II, page 241, lines

    10-14.

         Finally, the Referee does not find persuasive the numerous character letters

   submitted by the Respondent nor the testimony of his character witnesses, who

   were unfamiliar with the facts smTounding his discipline. Like the IAA award, the



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   Referee does not give any weight to these letters whether sent directly to the

   Referee's chambers or filed as an exhibit.

   III.   RECOMMENDATIONS AS TO GUILT.

          I recommend that Respondent be found guilty of violating the following

   Rules Regulating The Florida Bar: 4-1.8(a) and Rule 4-5.6(b).

          STANDARDS FOR IMPOSING LA WYER SANCTIONS

          I considered the following Standards prior to recommending discipline: 3.0,

   4.3, 9.1, 9.2 and 9.3.


   IV.    RECOMMENDATION AS TO DISCIPLINARY MEASURES TO
          BEAPPLIED

          I recommend that Respondent be found guilty of misconduct justifying

   disciplinary measures, and that he be disciplined by:

           A.   One year of probation with a public reprimand and that the

   Respondent successfully complete the thirty hours of Florida continuing legal

   education ethics hours, and

           B.   Payment of The Florida Bar's costs in these proceedings.

   V.     PERSONAL HISTORY, PAST DISCIPLINARY RECORD

          Prior to recommending discipline pursuant to Rule 3-7.6(m)(l )(D), I

    considered the following:

          Age: 50 Years of Age.



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         Date of Bar Admission: March 3, 2003

         Prior Discipline:     None

   Aggravating Factors: Standard 9.2

                 (d)     multiple offenses; and
                 (i)     substantial experience in the practice of law.

   Mitigating Factors:

                 (a)     absence of a prior disciplinary record.


   VI.   STATEMENT OF COSTS AND MANNER IN WHICH COSTS SHOULD
         BE TAXED

         I find the following costs were reasonably incurred by The Florida Bar:

         Investigative Costs                                               $105.25
         Administrative Costs                                              $1250.00
         Court Reporter's Fees                                             $1532.00

         Total                                                             $2887.25

         It is recommended that such costs be charged to Respondent and that interest

   at the statutory rate shall accrue and be deemed delinquent 30 days after the

   judgment in this case becomes final unless paid in full or otherwise deferred by the

   Board of Governors of The Florida Bar.

         Dated this 7th day of July 2020.



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                                                         .(j;ihiCA i@r~'fu,.__J
                                             Dawn Caloca-Johnson, ~ee
                                             301 South Monroe Street
                                             Tallahassee, FL 32301-1861

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   Originals To:

   Clerk of the Supreme Court of Florida; Supreme Court Building; 500 South Duval
   Street, Tallahassee, Florida, 32399-1927

   Conformed Copies to:

   James Keith Fisher, Bar Counsel, at jfisher@floridabar.org, and

   John A. Weiss, Counsel for Respondent, at jweiss@rumberger.com




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         Case 1:21-cv-02337-ELH Document 4-1 Filed 09/13/21 Page 19 of 87




                    Supreme Court of Florida
                         THURSDAY, SEPTEMBER 3, 2020

                                                              CASE NO.: SC19-188
                                                              Lower Tribunal No(s).:
                                                                  2015-00,718(2B)

   THE FLORIDA BAR                        vs.    MARC JOHN RANDAZZA

   Complainant(s)                                Respondent(s)

          The Court approves the uncontested referee's report and reprimands
   respondent.
          Respondent is further placed on probation for one year under the terms and
   conditions set forth in the report. Respondent shall comply with all other terms
   and conditions in the report.
          Judgment is entered for The Florida Bar, 651 East Jefferson Street,
   Tallahassee, Florida 32399-2300, for recovery of costs from Marc John Randazza
   in the amount of $2,887.25, for which sum let execution issue.

   NOT FINAL UNTIL TIME EXPIRES TO FILE REHEARING MOTION AND,
   IF FILED, DETERMINED.

   CANADY, C.J., and POLSTON, LABARGA, LAWSON, MUÑIZ, and
   COURIEL, JJ., concur.

   A True Copy
   Test:


    Q2
    JohnA. Tomasmo
                    .
    Clerk, Supreme Court

   ca
   Served:
   LESLIE LAGOMASINO BAUM                            JAMES KEITH FISHER
   HON. DAWN CALOCA-JOHNSON, JUDGE                   JOHN A. WEISS
   PATRICIA ANN TORO SAVITZ
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                                         Exhibit
     Order Approving Conditional Guilty Plea, In re Marc J. Randazza, Bar No. 12265, No. 76543
                                       (Nev. Oct. 10, 2018)
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                                IN THE SUPREME COURT OF THE STATE OF NEVADA


                         IN THE MATTER OF DISCIPLINE OF                              ,No. 76453
                         MARC J. RANDAZZA, BAR NO. 12265.
                                                                                        FILED
                                                                                        OCT10 2018



                          ORDER APPROVING CONDITIONAL GUILTY PLEA AGR
                                      This is an automatic review of a Southern Nevada Disciplinary
                        Board hearing panel's recommendation         that this court approve, pursuant
                        to SCR 113, a conditional guilty plea agreement in exchange for a stated
                        form of discipline for attorney Marc J. Randazza.         Under the agreement,
                        Randazza     admitted    to violating RPC l.8(a) (conflict of interest:     current
                        clients: specific rules) and RPC 5.6 (restrictions      on right to practice) in
                        exchange for a 12-month suspension,         stayed for a period of 18 months
                        subject to conditions.
                                      Randazza has admitted to the facts and the violations alleged
                        in two counts set forth in the amended complaint.        1   The record therefore
                        establishes that Randazza violated the above-listed rules by loaning money
                        to his client without informing the client in writing of the desirability         of
                        obtaining independent counsel, and by negotiating with opposing counsel to
                        receive, as part of a settlement,   a retainer for future legal services.
                                      As Randazza     admitted   to the violations    as part of the plea
                        agreement,    the issue for this court is whether the agreed-upon discipline



                              1In exchange for Randazza's guilty plea, the State Bar agreed to
                        dismiss the remaining seven counts in the amended complaint.
SUPREME COURT
         OF
      NEVAOA


(0) 1947A...,
            Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 23 of 88 PageID# 118




                    sufficiently protects the public, the courts, and the legal profession.                    State
                    Bar of Nev. v. Claiborne, 104 Nev. 115, 213, 756 P.2d 464, 527-28 (1988)
                    (explaining purpose of attorney discipline).             In determining      the appropriate
                    discipline, we weigh four factors: "the duty violated, the lawyer's mental
                    state, the potential or actual injury caused by the lawyer's misconduct, and
                    the existence of aggravating            and mitigating     factors."     In re Discipline of
                    Lerner, 124 Nev. 1232, 1246, 197 P.3d 1067, 1077 (2008).
                                    Randazza     has admitted      to violating duties owed to his client
                    (conflict of interest)       and the legal profession            (restrictions      on right to
                    practice), and the admitted facts reflect that the misconduct was knowing.
                    His conduct may have caused a delay in the disbursement                           of settlement
                    funds to his client.        The baseline sanction for both rule violations, before
                    considering      aggravating     and mitigating          circumstances,          is suspension.
                    Standards      for Imposing Lawyer Sanctions,             Compendium         of Professional
                    Responsibility    Rules and Standards,          Standard     4.32 (Am. Bar Ass'n 2017)
                    (providing that suspension is appropriate           when a lawyer "knows of a conflict
                    of interest    and does not fully disclose to a client the possible effect of that
                    conflict, and causes injury or potential injury to a client"); id. Standard                    7.2
                    (providing     that   suspension        is appropriate     when      a lawyer       "knowingly
                    engages in conduct that is a violation of a duty owed as a professional and
                    causes injury or potential injury to a client, the public, or the legal system").
                    The record supports one aggravating             circumstance       (substantial      experience
                    in the practice of law) and three mitigating circumstances                  (absence of prior
                    disciplinary     record, full and free disclosure          to disciplinary         authority    or
                    cooperative      attitude      toward     proceeding,      and     delay    in      disciplinary
                    proceedings).     Considering all the factors, we conclude that the agreed-upon
                    discipline is appropriate.

SUPREME COURT
       OF
     NEVAOA
                                                                   2
(0) 1947A
            Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 24 of 88 PageID# 119




                                Accordingly,   we hereby   suspend   Marc J. Randazza       for 12
                    months, stayed for 18 months commencing on the date of this order, subject
                    to the following conditions: (1) Randazza shall "stay out of trouble" during
                    the probationary   period, "meaning that he will have no new grievance
                    arising out of conduct post-dating the date of the plea which results in the
                    imposition of actual discipline (a Letter of Reprimand or above, SCR 102)
                    against him"; (2) he shall successfully complete 20 hours of CLE in ethics in
                    addition to his normal CLE requirements     during the probationary    period;
                    (3) he shall seek the advice and approval of an independent   and unaffiliated
                    ethics attorney in the relevant jurisdiction before obtaining any conflicts of
                    interest waivers during the probationary    period; and (4) he shall pay the
                    actual costs of the disciplinary proceeding, including $2,500 under SCR 120,
                    within 30 days of this court's order, ifhe has not done so already. The State
                    Bar shall comply with SCR 121.1
                                It is so ORDERED.



                                                                     'C.J.



                                                                      ~v::1'~~..__,J.
                                                               ~£:...~""""'·
                                                               Gibbons


                                                               --'--I_\._~_~____,~,_,,
                                                                                  J.
                                                               Hardesty


                                                               _./'_~/l~~
                                                                       ~~_..,.,,._
                                                                               _____      _,,J.
                                                               Stiglich


SUPREME COURT
       OF
     NEVADA


(0) 1947A
                                                           3
            Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 25 of 88 PageID# 120




                    cc:   Chair, Southern Nevada Disciplinary Panel
                          Gentile, Cristalli, Miller, Armeni & Savarese, PLLC
                          Bar Counsel, State Bar of Nevada
                          Kimberly K. Farmer, Executive Director, State Bar of Nevada
                          Perry Thompson, Admissions Office, U.S. Supreme Court




SUPREME COURT
       OF
     NEVADA
                                                        4
(0) 1947A
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 26 of 88 PageID# 121




                                      Exhibit
           Conditional Guilty Plea, In re Marc J. Randazza, Bar No. 12265, No. 76543
                                        (Nev. June 5, 2018)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 27 of 88 PageID# 122




      1   Case No.: ORC 15-0747
                                                                                          JUNO5 2018
      2
                                                                                   STATEBAROF NEVADA
      3                                                                          BY: ~q-L.
                                               STATE BAR OF NEVADA
                                                                                    OFFICEOFBARCOUNSEL
      4
                                  SOUTHERN NEVADA DISCIPLINARY BOARD
      5
                                                             )
          STATE BAR OF NEV/\IJ/\.                            )
      6
                                                             )
                          Co111plainant.                     )
      7
                                                             )          CONDITIONAL GUILTY PLEA
                   VS.                                       )         IN EXCHANGE FOR A STATED
      8
                                                             )             FORM OF DISCIPLINE
          1'1IARC .I. Rl\NDAZ1/./\. ESQ..                    )
      9
                                                             )
     10                   Nevada 13arNo. 012265.             )
          ______           R_e_S)._)0_1_H_k_n_1.
                                      _______                )
     11
     12            Marc .I. Randazzn (""Respomkn1''). Bar No. 0 I 2265 hl.!rcby Lenders to Assistant 13ar

     13   Counsel for the Stale Bar or Nevada a Conditional Guilty Pica (..Pica") pursuant 10Suprc111cCourt

     14   Ruic c-·sCR..) 113(I) and agrl.!es10 thl.!imposition or the following Stated Form or Discipline in

     15   the abo,·e-captiuncd cases.

     16                                                I.
                                            CONDITIONAL GUILT\' PLEA
     17
                   Through the instant Pica, Re.spondcn1agrees and admits as follows:
     18
                   I.      Rcsponclent is now and at all times since .lanuary 6. 2012 was a licensee!attorney in
     19
          the Stnte of Nevada.
     20
                   2.      The Stntc nar tiled a Formal Complaint on the above relcrcnccd case on January
     21
          25. 2016.      Thereafter. the State Bar Iiled an /\mcnc.lcc.lComplaint on December 16, 2016.
     22
          Respondent lilccl rnrious !\•lotionsto Dismiss the /\mcnclcd Complaint and then ultimately filed a
     23
          Veriliccl Response to the /\mendcc.lComplaint on October 23. 2017.
     24
                   3.      In accordance with the Stipulation or Facts herein. Rcspnnclent pleads guilty and
     25
          admits that he viulatc:d Ruh:s or l'rolcssional Conduct ('·RPC'') as follows:


                                        SBN EXH 1, PG.0001
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 28 of 88 PageID# 123




      1                                             II,
                                            STIPULATIONOF FACTS
      2
                 The facts stipulatedto and agreeduponbetweenRespondentand the StateBar ofNevadain
      3
          supportof Ibis conditionalplea are as follows:
      4
                 I.     Respondentis now a licensedallorneyin the states of Nevada,Cslifornia,Florida,
      5
          Arizona,and Massachusetts. Respondentbecamelicensedin the State of Nevadaon or about
      6
          January6, 2012and has beenassignedBarNo. 1226S.
      7
      8
                 2.     In or aboutJune2009,Respondententeredinto an agreementwith ExcelsiorMedia

          Corp("Excelsior")which provided,amongotherthings,that Respondentwouldbecomein-house
      9

     10 general corporate counsel for Excelsior("Legal Services Agreement"). The Legal Services
     11 Agreementdid not prohibitRespondentfromalso maintaininga privatelegal practiceto provide
     12   legalservicesto clientsotherthan Excelsior.

     13          3.     At the time the Legal Services Agreement was entered into, Excelsior was

     14 headquarteredin Csliforniaand Respondentwaslicensedto practicelaw in the State of Florida.

     15 For a periodof time followingexecutionof the Legal ServicesAgreement,Respondentrelocated

     16   to California,obtainedadmissionto the StateBarof Cslifornia,and maintainedhis primaryoffice

     17   to performlegalwork for Excelsiorin California.

     18          4.     At the time the Legal Services Agreementwas entered into, Excelsiorhad a

     19   subsidiaryor affiliatecalled LibertyMediaHoldings,LLC("Liberty"). Libertywas engagedin

     20   the businessof productionand distributionof pornography.After enteringinto the LegatServices

     21   Agreement,Rel.-pondentprovided legal services to both Excelsior and Liberty, although no

     22   separateagreementwas enteredinto byand betweenLibertyand Respondent
     23          s.     In or about February20I I, E.'l:cetsior
                                                             relocatedits corporateheadquartersto Las
     24   Vegas,Nevada. In or aboutJune2011,Respondentrelocatedto Las Vegas,Nevadaand continued
     25   workingas general corporatecounsel for E.'l:celsior.Prior to June 2011, Respondentwas not


                                     SBN EXH 1, l!iG.0002
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 29 of 88 PageID# 124




          engaged in the practice of law in the State of Nevada in any capacity, except to the extent such
      1
          was in his capacity as a member of the bar of the U.S. District Court for the District of Nevada.
      2
                 6.      At the direction of Excelsior, Respondent pursued violations of Liberty's
      3
          intellectual property rights by third parties through his separate law firm.
      4
                 7.      On or about June 20, 2012, Respondent, on behalf of Liberty, filed a lawsuit in US
      5
          District Court, District of Nevada against FF Magna! Limited d/b/a Oron.com ("Oron") for alleged
      6
          violations of Liberty's intellectual property. See Case No. 2:12-cv-01057-GMN-RJJ (hercinal\er
      7
          "Oron Litigation").
      8
                 8.      On or about June 21, 2012, Respondent obtained an injunction in the Oron
      9

     10 Litigation freezing certain accounts and funds belonging to Oron.
     11          9.      On July I, 2012. Respondent and attomcys for Oron signed a letter memorializing

     12 settlement tenns in regards to the Oran Litigation and a similar case between the two parties in

     13   I-longKong (hcreinafier "Settlement Letter"). An essential part of the Settlement Leiter was that

     14 Oron would pay Liberty the sum of $550,000 with said sum payable 10 Respondent's Allomey-

     15 Client TrustAccount.

     16           10.    A dispute arose al\cr the Se11lemcn1Letter was signed. On behalf of Liberty.

     17   Respondent lih.-da Motion 10 Enforce Se11lcment.

     18           II.    By Order dated August 7, 2012, the United States District Court found that the

     19   Settlement Leiter constituted an enforceable contract as there was a "meeting of the minds as to all

     20   material terms on July 5, 2012." A Judgment was entcn.-d in the docket of the ubovc-enlitlcd

     21 Court in favor of Liberty us Judgment Creditor and against Oron us Judgment Debtor for

     22   $550,000.00.

     23           12.    By Order dated August 21. 2012. the United States District Court ordered PayPal,

     24   Inc., to transfer funds belonging to Oran to satisfy the Judgment by paying $550,000.00 to the

     25   trust account ofRanda21..aLegal Group.



                                       SBN EXH 1, PG.0003
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 30 of 88 PageID# 125




                 13.    BetweenAugust 7, 2012 and August 13, 2012, Respondentand Oron continued
      1
          discussionsregardingreducingthe 1ermsof the SettlementLetter and the Judgmentinto a more
      2
          definitivewrittenagreementalthoughthe DistrictCourt had alreadyenforcedthe settlementand
      3
          reducedthe SSS0,000.00settlementamount("SettlementAmount'')to judgment("Post-Judgment
      4
          Discussions").
      5
                 14.     Duringthe Post-JudgmentDiscussions,Oron informedRespondentthat it wanted
      6
          to enterinlo an agreementto retainRespondentfor bonafide legalservices,whichwouldhavethe
      7
          practical effect of potentiallyconflictingoff Respondentfrom ever representinga client in
      8
          litigationagainstOron in the future.
      9

     10          1S.    Subjectto the agreementof LibertYand Liberty'sexecutionof a writtenagreement,

     11 Respondentnegotiateda separateagreementwith Oron whereby$75,000of Oron's frozenfunds
     12 would be releasedto Oron's counselwith the understanding,but no guarantee,that such funds

     13 wouldbe used to retain Respondentas counselfor Oronfor the paymentof $75,000,whichwould

     14   have the practical effect of potentiallyconflictingRespondentoff any future litigationagainst

     15 Oron("Post-JudgmentAgreement").

     16          16.    On or abou1August 13,2012, RespondentinformedLibertyof the proposedPost-

     17 JudgmentAgreementby presentinga copy thereofto Liberty'sCEOJason Gibsonfor his review,

     18 approval and signature. The Post-JudgmcnlAgreemenl encompassedthe payment of the

     19 $550,000SeulementAmountand Judgmentby Oronto Libertyas well as the releaseof $75,000

     20   ofOron's frozenfundsto Oron'scounsel.

     21          17.    On or about August 13, 2012, Respondentand Jason Gibson discussed the

     22   proposedunfreezingof$75,000ofOron's funds. JasonGibsonexpressedconcernsto Respondent
     23   aboutthe dispositionof that $75,000anddid not consentto suchunfreezing.

     24          18.    As a result of the August 13, 2012 discussion between Jason Gibson and

     25   Respondent,the Post-JudgmentAgreementwas not execu1ed. Oron's frozen funds were nol


                                     SBN EXH 1, PG.0004
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          released,Respondentdid not receivea $75,000payment,and Respondentdid not becomecounsel
      1
          for Oronwhichmighthaveconflictedhim off fromopposingOronin futurelitigation.
      2
                 19.    In responseto the DistrictCourt'sOrderdatedAugust21, 2012, PayPaltransferred
      3
          $550,000of Oron's funds to pay the $550,000SettlementAmountand Judgmentin favor of
      4
          Liberty. A full and proper accountingof those funds has occurred with Libertyreceivingits
      5
          appropriateshare.
      6
                 20.    During August of 2012, Respondentand Jason Gibson also discussedpursuing
      7
          further litigation on behalf of Liberty against Oron and/or its affiliates or related parties in
      8
          overseasjurisdictions. Respondentestimatedadditionallitigation costs and expenses(not to
      9

     10 includeattorney's fees) in an amountapproximating$50,000. Mr. GibsoninformedRespondent

     11 that Libertywas preparedto advance$25,000for additionalcosts and expensesif Respondent

     12 wouldadvancethe other half. RespondentinformedMr. Gibsonthat he wouldpersonallyadvance
    13    the additionalrequired $25,000. To memorializethe $25,000 as an advancementof costs and

     14 expenses,RespondentrequestedLibertyexecutea promissorynote to that effect.

     15          21.    On or about August21, 2012, pursuantto Respondent'sadvancement10 Libertyof

     16 the $25,000, Mr. Gibson signed a promissorynote on Liberty's behalf noting the terms of

     17 repayment.

     18          22.    Respondentdid 1101advise Liberty,in writing,of its right 10 seek the advice of

     19 independentcounselwith regardsto the promissorynote.

    20           23.    Respondent'semploymentby Excelsiorceasedon or about August29, 2012 after

    21    he indicateda likely need to withdrawfrom representingLiberty. Respondentand Excelsior

     22   disputewhetherRespondentresignedor wasterminatedby Excelsior.

     23          24.    RPC 5.6 reads, in pan, that "(a] lawyershall not participatein offeringor making
     24   ... [a]nagreementin whicha restrictionon the lawyer'sright to practiceis part of the settlement

     25   of a client controversy." As part of the negotiationsculminatingin the draftingof the proposed


                                     SBN EXH 1, PG.0005
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 32 of 88 PageID# 127




          Post-JudgmentAgreementto which Liberty was a proposedparty and signatoiy, Respondent
      1
          offeredto enter into an agreementwhichwouldhavethe likelyeffectof restrictingRespondent's
      2
          rightto practicelaw.
      3
                 25.    RPC I .S(a)mandatesthat "a lawyershallnot enter into a businesstransactionwith
      4
          a client or knowinglyacquire an ownership,possessorysecurity or other pecuniaiy interest
      5
          adverseto a client unless:( I) the transactionand tenns on whichthe lawyeracquiresthe interest
      6
          are fair and reasonableIO the clientand are fullydisclosedand transmittedin writingin a manner
      7
          that can be reasonablyunderstoodby the client,and(b) the client is advised in writingof the
      8

      9   desirabilityof seeking and is given a reasonableopportunityto seek the advice of independent

     10   legalcounselon the transaction."Respondentdidnot adviseLiberty,in writing,of the desirability

     11 or advisabilityof seekingthe adviceof independentlegalcounselon the fairnessof the $25,000
     12 advanceor give Liberty the reasonableopportunitylo seek the advice of independentcounsel
     13 beforeacceptingthe advanceand signingthe promissoiynote.

     14                                  AGGRAVATION/MITIGATION

     15          I.     Pursuantto SCR 102.S(I)(Aggravationand mitigation),the Partiesconsideredthe

     16   followingaggravati11g
                              factorsin consideringthedisciplineto be imposed:

     17
                        (i)      Substantialexperiencein the practiceof law.
     18
                2.      Pursuantto SCR I02.5(2)(Aggravationand mitigation),the Partiesconsideredthe
     19
          following111itigati11g
                              factorsin consideringthe disciplineto be imposed:
     20
     21                 (a) Absenceof priordisciplinaryrecord;
                        (e) Full and free disclosureto disciplinaryauthorityor cooperativeattitudetoward
     22
                        proceedingincludingRespondent'sself-reportingof the results of an arbitration
     23
                        proceedingwhichreopenedthis matterafterthe initialcomplainthad beenclosed;
     24
     25


                                      SBN EXH 1, PG.0006
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 33 of 88 PageID# 128




      1                  (i)    Delay in disciplinaryproceedingsrecognizingthat all allegationsrelateto

      2                  allegedconductoccurringalmost6 and 7 yearsprior to this ConditionalGuiltyPlea
                         with no furthercomplaintsfiledwiththe barsubsequentto that time.
      3
     4
                                                   Ill.
     5                                  STATED FORM OF DISCIPLINE

     6           Based upon the above and foregoing,the Partiesagree to recommendattorneydiscipline

     7    subjectto the followingconditions:

     8
                 I.      The Respondentagreesto accepta termof suspensionof 12months,withthe
     9
          suspensionstayed;said suspensionis to beginon the date of the NevadaSupremeCourt'sOrder
     10
          approvingthe conditionalguiltypica in this matter.
     11
                 2.      The Respondentwill be placedon an eighteen-monthtermof probation,said
     12
          probationto beginon the dateof the NevadaSupremeCourt'sorderapprovingthe conditional
    13
          guiltyplea in this matter.
     14
                 3.      The Respondentwill "stayout of trouble"duringhis termof probation,meaning
     15
          that he will haveno new grievancearisingout of conductpost-datingthe date of this Conditional
     16
          GuiltyPlea resultingin the impositionof actualdiscipline(a Letterof Reprimandor above-SCR
     17
          I02) againsthim duringhis termof probation.
     18
                 4.      The Respondentwill successfullycompletetwentyhoursof ContinuingLegal
     19
          Education("CLE"),in additionto his normalCLErequirements,duringhis termof
     20
          probation.·me twentyCLEhourswillall be ethicscredits,cannotbe usedas creditagainstany
    21
          otherCLE requirements,and will be reportedto the State Barof Nevada.
     22
                 5.      ·meRespondentwillseekthe adviceandapprovalof an independentand
     23
          unaffiliatedethicsattorneyin the relevantjurisdictionbeforeobtainingany conflictsof interest
    24
          waiversduringthe probationaryperiod.
     25


                                       SBN EXH 1, PG.0007
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 34 of 88 PageID# 129




      1          6.     The Respondentagreesto pay SCR 120(1)fees in the amountof $2,500.00, and to
      2   pay theactualcoslsof the disciplinaryproceeding.That amountis to be paid in fullwithinthirty
      3   daysof receiptof a billingfromthe StaleBar.

      4          7.     If any of thesetermsis violatedby the Respondent,it will be groundsfor the Stale
      5   Bar to seek to imposethe stayedportionof the suspension.
      6
                                             IV.
      7                      CONDITIONALAGREEMENTBY THE STATE BAR
      8          Conditionalto approvalby the NevadaSupremeCourt of the instant Plea, the State Bar
      9   agreesto:
     10          I.     Dismissall remainingallegationsof violationsof Rules,with prejudice.
     11
                                                        v.
     12                                  APPROVALOF RESPONDENT
     13          Having read the Plea and being satisfied with it, the same is hereby approved by
     14 Respondent.
     15
                 Respondentacknowledgesthat he has had the opportunitylo discussthis Plea with counsel
     16
          of his choosing. Respondentfullyunderstandsthe termsand conditionsset forthhereinand enters
     17
          into this Plea freelyand voluntarily.
     18
     19
     20
              . Randaz7.a,,...,!III,/
     21 Neva a  Bar No. 0
        c/o DominicGentile.Esq.
     22 410 SouthRampartBoulevard,Suite420
        LasVegas,NV 89145
     23

     24

     25


                                     SBN EXH 1,         aiG.oooa
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 35 of 88 PageID# 130




      1
                                                             V.
      2                                    Al'l'IlOVAL     Of 13:\R COUNSEL

      3          I laving read the Pica ll:ndcn:d by Respondent and being satisfit::dwith the contents therein,
      4   I hereby approve and recommend the Pica l'nr approval by the Formal I !earing Panel.
      5          D/\TED this   _J_ of M71y:
                                     day           2018.

      6
                                                               ST;\TE B/\R Of- NEV /\DA
                                                               Janeen V. Isaacson. /\cling Bar Counsel
      7

      8
                                                                By:_{_,,_~~~~-~~~~~-,
      9
                                                                      i\fouhew Carlyon
                                                                      Assistant Bar Counsel
     10                                                               Nevada Bar No. 12712
                                                                      3100 W. Charleston Blvd., Suite I00
     11                                                               Las Vegas. Nevada, 89102

     12

     13

     14

     15

     16

     17

     18

     19

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     24

     25



                                     SBN EXH 1, P1G.0009
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                                  Exhibit
                            Letter from State Bar of Nevada
                                     (April 13, 2020)
  Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 37 of 88 PageID# 132


STATE BAR OF NEVADA




April 13, 2020


Via email only to mjr@randazza.com


Marc Randazza, Esq.
2764 Lake Sahara Dr.
Suite 109                                                                                3100 W. Charleston Blvd.
Las Vegas, NV 89117                                                                      Suite 100
                                                                                         Las Vegas, NV 89102
Re: Compliance with Nevada Supreme Court Order filed October 10, 2018                    phone 702.382.2200
                                                                                         toll free 800.254.2797
                                                                                         fax 702.385.2878
Dear Mr. Randazza:
                                                                                         9456 Double R Blvd., Ste. B
       Our records reflect that you have successfully completed the conditions of your   Reno, NV 89521-5977
stayed suspension as set forth in the Nevada Supreme Court’s Order filed October 10,     phone 775.329.4100
2018, in Case No. 76453, and no actual suspension will be imposed.                       fax 775.329.0522

        Congratulations on your successful completion of probation. Our file in the      www.nvbar.org
matter is now closed.

       Please do not hesitate to contact our office if you have any questions.

Sincerely,



Daniel M. Hooge
Bar Counsel


/lw
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 38 of 88 PageID# 133




0o




     Adobe Sign
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 39 of 88 PageID# 134




                                      Exhibit
            Final Judgement and Order of Reprimand and Probation, State of Arizona
                                     (January 14, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 40 of 88 PageID# 135




                  BEFORE THE PRESIDING DISCIPLINARY JUDGE

       IN THE MATTER OF A MEMBER OF                     PDJ-2018-9110
       THE STATE BAR OF ARIZONA,
                                                        FINAL JUDGMENT AND
       MARC J. RANDAZZA,                                ORDER OF REPRIMAND
        Bar No. 027861                                  AND PROBATION

             Respondent.                                [State Bar No. 18-3420-RC]

                                                        FILED JANUARY 14, 2019

            Under Rules 54(h) and 57(b), Reciprocal Discipline, Ariz. R. Sup. Ct., 1 a

   certified copy of the Supreme Court of Nevada’s Order Approving Conditional

   Guilty Plea Agreement was received by the Presiding Disciplinary Judge (PDJ).

            The Order imposed a 12-month suspension, which was stayed for 18 months

   subject to conditions. The conditions include the following terms: Respondent shall

   have no new grievances out of conduct post-dating the date of the plea which results

   in the imposition of discipline; 2) successfully complete during the period of

   probation 20 hours of continuing legal education (CLE) in ethics in addition to any

   yearly CLE requirements; 3) seek the advice and approval of an independent and

   unaffiliated ethics attorney in the relevant jurisdiction before obtaining any conflict

   of interest waivers during the period of probation; 4) pay actual costs of disciplinary



   1
       Unless otherwise stated, all rule references are to the Ariz. R. Sup. Ct.

                                                1
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         Case 1:21-cv-02337-ELH Document 4-1 Filed 09/13/21 Page 40 of 87




   proceeding including $2,500.00 under SCR 120. The suspension was for Mr.

   Randazza’s failure to avoid conflict of interests with clients and failure to advise the

   client of their right to seek the advice of independent counsel regarding a promissory

   note.

           Notice of the filing of that Order was issued to the parties on November 11,

   2018, in compliance with Rule 57(b)(2). Under Rule 57(b)(3), the PDJ “shall impose

   the identical or substantially similar discipline” unless Bar Counsel or Respondent

   establishes by preponderance of the evidence one of the four elements listed under

   that rule. Both the State Bar and Mr. Randazza filed responses. The State Bar asserts

   under Rule 57(b)(3), no factors are applicable, and a sanction of reprimand and

   probation are appropriate under the facts of this matter. Mr. Randazza asserts

   suspension in this matter is not warranted and would in fact be punitive. He states

   the appropriate resolution in this matter is to stay these proceedings until successful

   completion his term of probation in Nevada and to then dismiss this matter. In the

   alternative, Mr. Randazza requests a reprimand, or at most, be placed on probation

   with no additional terms.

           Arizona does not recognize a stayed suspension subject to conditions. Rule

   60, Ariz. R. Sup. Ct. Therefore, the imposition of an identical sanction is not

   appropriate and a suspension in Arizona may not be stayed in favor of probation.




                                              2
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 42 of 88 PageID# 137
         Case 1:21-cv-02337-ELH Document 4-1 Filed 09/13/21 Page 41 of 87




           We are reminded that the objective of lawyer discipline proceedings is to

   protect the public, the profession, and the administration of justice, and not to punish

   the lawyer. In re Neville, 147 Ariz. 106, 708 P.2d 1297. Imposing a reprimand and

   probation serves to advise the Bar and the public that Mr. Randazza engaged in

   conduct that violated the Rules of Professional Conduct. It serves the purpose of

   protecting the public, the integrity of the profession, educating other lawyers, and

   instilling confidence in the integrity of the disciplinary process. A reprimand and

   eighteen (18) months of probation is substantially similar discipline

           Now Therefore,

           IT IS ORDERED imposing reciprocal discipline of reprimand and eighteen

   (18) months of probation upon Respondent, MARC J. RANDAZZA, Bar No.

   027861, effective immediately.

           IT IS FURTHER ORDERED Mr. Randazza shall be placed on probation

   for eighteen (18) months to run concurrently with the terms and conditions as set

   forth in the Nevada Order Approving Guilty Plea Agreement dated October 10,

   2018.

           IT IS FURTHER ORDERED Mr. Randazza shall be responsible for the

   costs associated with this matter in the amount of $1,200.00.

                 DATED this 14th day of January 2019.

                                            William J. O’Neil
                                    William J. O’Neil, Presiding Disciplinary Judge

                                              3
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 43 of 88 PageID# 138




   Copy of the foregoing e-mailed/mailed
   this 14th day of January 2019, to:

    Jon Weiss                                  Maret Vessella
    Lewis Roca Rothgerber Christie LLP         Chief Bar Counsel
    201 E. Washington Street, Suite 1200       State Bar of Arizona
    Phoenix, AZ 85004-2595                     4201 North 24th Street, Suite 100
    Email: jweiss@lrrc.com                     Phoenix, AZ 85016-6288
    Respondent’s Counsel                       Email: LRO@staff.azbar.org

   by: AMcQueen




                                           4
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 44 of 88 PageID# 139




                                    Exhibit
              Order of Term Suspension/Stayed, Commonwealth of Massachusetts
                                      (May 14, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 45 of 88 PageID# 140




                                              COMMONWEALTH
                                                         OF MASSACHUSETTS

   SUFFOLK, SS.                                                                                     SUPREME JUDICIAL COURT
                                                                                                    FOR SUFFOLK COUNTY
                                                                                                    NO: BD-2018-110


                                                    IN RE: MARC JOHN RANDAZZA


                                            ORDER OF TERM SUSPENSION/STAYED


             This         matter            came before                   the        Court,         Gaziano,             J.,      on a

   Petition           for         Reciprocal               Discipline                  pursuant             to        S.J.C.         Rule       4:01,

   § 16,       and        the      Order            entered             in     the     Supreme             Court         of      the       State      of

   Nevada        filed            by the           Office           of Bar            Counsel            on December                   11,    2018.

             On December                     12,     2018,          an Order             of Notice                issued          and was

   served        on the               lawyer         in      the        manner          specified                in    S.J.C.           Rule

   4:01,       § 21,         directing                him to              inform         the        Court         within          thirty

    (30)     days         why the             imposition                  of    the      identical                discipline                 would

   be unwarranted                      in     the     Commonwealth                     of Massachusetts.                          On January

   15,     2019,          the         lawyer         filed          his        response             to     the        petition           and a

   hearing          was scheduled                      for     March            26,      2019.           On March              19,      2019,

   counsel          for         the     lawyer            filed           a motion             to    continue              the       hearing,

   which       was allowed                    by this              Court        and      the        hearing            was rescheduled

   for     May 2,           2019.             Bar     Counsel's                 reply          to    the         lawyer's            response

   was filed              by Acting                Bar       Counsel            on April             2,     2019,          and       the       lawyer

   then       filed         his        memorandum                  in     response             to    Acting            Bar       Counsel's

   reply       on April                26,     2019.




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                                                                                                                                                     MAURA S. DOYLE, CLERK
                                                                                                                                                   SUPREME JUDICIAL COURT
                                                                                                                                                    THE COUNTY OF SUFFOLK
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 46 of 88 PageID# 141




              Upon consideration                                  thereof,           and         after            a hearing              attended                by

   acting             bar         counsel,             the        lawyer          and      his        counsel;

                It         is    ORDERED that:

              Marc              John      Randazza                is    hereby           suspended                 from         the      practice                of

   law      in        the         Commonwealth                    of    Massachusetts                       for     a period              of      twelve

   (12)       months,                 with       the     execution                 of      the        suspension                     stayed       for        a

   period             of        eighteen              (18)        months,          retroactive                     to     October             10,       2018,

   conditioned                     upon         the     lawyer's              compliance                   with          the     Order           entered

   in     the         Supreme             Court         of        Nevada,          attached                 hereto         and          incorporated

   herein.

                        After            eighteen             (18)       months            from          October               10,      2018,       the

   lawyer             may file               an affidavit                    of    compliance                     with         the

   Office             of        Bar      Counsel         and           the    Clerk            of     the         Supreme             Judicial

   Court             for        the      County         of        Suffolk,              that         he has         complied              with          this

   Order.               Upon receipt,                        and with             the      assent            of     the         Office           of Bar

   Counsel,                 the         lawyer        may then               request             that        this         court          issue          an

   order             that         he is       no longer                 subject            to        the     twelve              (12)     month

   suspension                     for     the     misconduct                  that         gave          rise       to         the     instant

   petition                 for       discipline.

                                                                                                 ,    (Gaziano,                 J.)


                                                             ~s                    nt      Clerk


   Entered:                      May 14,          2019
  Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 47 of 88 PageID# 142


                                                                                    I i!J.'arr
                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                 IN THE MATTER OF DISCIPLINE OF                            c:.No.76453
                 MARC J. RANDAZZA BAR NO. 12265.
                                                                              FILED
                                                                               OCT
                                                                                 IO2018



                  ORDER APPROVING CONDITIONAL GUIL'I'Y PLEA AGRE 'MENT
                             This is an automatic review of a Southern Nevada Disciplinary
                Board hearing panel's recommendation that this court approve, pursuant
                to SCR 113, a conditional guilty plea agreement in exchange for a stated
                form of discipline for attorney Marc J. Randazza.       Under the agreement,
                Randazza admitted to violating RPC 1.8(a) (conflict of interest: current
                clients: specific rules) and RPC 5.6 (restrictions on right to practice) in
                exchange for a 12-month suspension, stayed for a period of 18 months
                subject to conditions.
                             Randazza has admitted to the facts and the violations alleged
                in two counts set forth in the amended complaint.      1   The record therefore
                establishes that Randazza violated the ahove-listed rules by loaning money
                to his client without informing the client in writing of the desfrability of
                obtaining independent counsel, and by negotiating with opposing counsel to
                receive, as part of a settlement, a retainer for future legal services.
                            As Randazza admitted to the violations as part of the plea
                agreement, the issue for this court is whether the agreed-upon discipline


                      1In exchange for Randazza's guilty plea, the State Bar agreed to
                dismiss the remaining seven counts in the amended complaint.
SuPAEMI COURT
     Of'
   NfVAOA
   Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 48 of 88 PageID# 143




                  sufficiently protects the public, the courts, and the legal profession. State
                  Bar of Nev. v. Claiborne, 104 Nev. 115, 213, 756 P.2d 464, 527-28 (1988)
                  (explaining purpose of attorney discipline). In determining the appropriate
                  discipline, we weigh four factors: "the duty violated, the lawyer's mental
                  state, the potential or actual injury caused by the lawyer's misconduct, and
                  the existence of aggravating and mitigating factors." In re Discipline of
                  Lerne,-, 124 Nev. 1232, 1246, 197 P.3d 1067, 1077 (2008),
                                Randazza has admitted to violating duties owed to his client
                  (conflict of interest)   and the legal profession (restrictions             on right to
                  practice), and the admitted facts reflect that the misconduct was knowing.
                  His conduct may have caused a delay in the disbursement of settlement
                  funds to his client. The baseline sanction for both rule violations, before
                  considering aggravating
                           '        .
                                                 and mitigating       circumstances, . is suspension.
                                                                                      '          .

                  Standards for Imposing Lawyer Sanctions, Compendium of Professional
                  Responsibility Rules and Standards, Standard 4.32 (Am. Bar Ass'n 2017)
                  (providing that suspension is appropriate when a lawyer "knows of a conflict
                  of interest and does not fully disclose to a client the possible effect of that
                  conflict, and causes injury or potential injury to a client"); id. Standard 7.2
                  (providing that suspension is appropriate             when a lawyer "knowingly
                  engages in conduct that is a violation of a duty owed as a professional and
                  causes injury or potential injury to a client, the public, or the legal system").
                  The record supports one aggravating circumstance (substantial experience
                  in the practice of law) and three mitigating circumstances (absence of prior
                  disciplinary record, full and free disclosure to disciplinary authority or
                  cooperative   attitude       toward   proceeding,     and   delay       in disciplinary
                  proceedings). Considering all the factors, we conclude that the agreed-upon
                  discipline is appropriate.

81.IPRIMICOUftT
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 Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 49 of 88 PageID# 144




                                   Accordingly, we hereby suspend Marc J. Randazza for 12
              months, stayed for 18 months commencing on the date of this order, subject
              to the following conditions: (1) Randazza shall "stay out of trouble" during
              the probationary pel'iod, "meaning that he will have no new grievance
              arising out of conduct post-dating the date of the plea which results in the
              imposition of actual discipline (a Letter of Reprimand ot· above, SCR 102)
              against him"; (2) he shall successfully complete 20 hours of CLE in ethics in
              addition to his normal CLE requirements during tl1e probationary period;
              (3) he shall seek the advice and approval of an independent and unaffiliated
              ethics attorney in the relevant jurisdiction before obtaining any conflicts of
              interest waivers during the probationary period; and (4) he shall pay the
              actual costs of the disciplinary proceeding, including $2,500 under SCR 120,
              within 30 days of this court's order, ifhe has not done so already. 'fhe State
              Bar shall comply with SCR 121.1
                                   It is so ORDERED.


                                                 ~\.A4l9¢                        'C.J.
                                                     Douglas   .


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   Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 50 of 88 PageID# 145




              cc:   Chair, Southern Nevada Disciplinary Panel
                    Gentile, Cristalli, Miller, Armeni & Savarese, PLLC
                    Bar Counsel, State Bar of Nevada
                    Kimberly K. Farmer, Executive Director, State Bar of Nevada
                    Perry Thompson, Admissions Office, U.S. Supreme Court




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Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 51 of 88 PageID# 146




                                     Exhibit
                  Order on Discipline, In re Marc J. Randazza, No. S258331
                                     (CA. Dec. 11, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 52 of 88 PageID# 147
                                                                                SUPREME COURT
                                                                                  Fl LED
                                                                                  DEC1 1 2019
                            (State Bar Court No. SBC-19-J-30338)
                                                                              Jorge Navarrete Clerk
                                           S258331

            IN THE SUPREME COURT OF CALIFORNIADeputy

                                           En Banc

                        In re MARC JOHN RANDAZZA on Discipline


             The court orders that Marc John Randazza (Respondent), State Bar Number
      269535, is suspended from the practice of law in California for one year,
      execution of that period of suspension is stayed, and Respondent is placed on
      probation for one year subject to the following conditions:

             1. Respondent must comply with the conditions of probation
                recommended by the Hearing Department of the State Bar Court in its
                Order Approving Stipulation filed on August 13, 2019; and

             2. At the expiration of the period of probation, if Respondent has complied
                with the terms of probation, the period of stayed suspension will be
                satisfied and that suspension will be terminated.

             Respondent must provide to the State Bar's Office of Probation proof of
      taking and passing the Multistate Professional Responsibility Examination as
      recommended by the Hearing Department in its Order Approving Stipulation filed
      on August 13, 2019. Failure to do so may result in suspension. (Cal. Rules of
      Court, rule 9.lO(b).)

              Costs are awarded to the State Bar in accordance with Business and
       Professions Code section 6086.10 and are enforceable both as provided in
       Business and Professions Code section 6140.7 and as a money judgment.




                                                          CAN11L-SAKAUYE
                                                              Chief Justice
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 53 of 88 PageID# 148




                                      Exhibit
               Arizona State Bar’s Notice of Successful Completion of Probation
                                       (April 16, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 54 of 88 PageID# 149




   Maret Vessella, Bar No. 019350
   Chief Bar Counsel
   State Bar of Arizona
   4201 N. 24th Street, Suite 100
   Phoenix, Arizona 85016-6266
   Telephone (602)340-7272
   Email: LRO@staff.azbar.org

                BEFORE THE PRESIDING DISCIPLINARY JUDGE

   IN THE MATTER OF A MEMBER                      PDJ 2018-9110
   OF THE STATE BAR OF ARIZONA,
                                                  NOTICE OF SUCCESSFUL
                                                  COMPLETION OF PROBATION
   MARC J. RANDAZZA
      Bar No. 027861                              File No. 18-3420-RC

         Respondent.

          Pursuant to Rule 60(a)(5)(C), Ariz. R. Sup. Ct., the State Bar, through

   undersigned bar counsel, hereby notifies the Presiding Disciplinary Judge of the

   Supreme Court of Arizona that Respondent has successfully complied with the

   terms of probation, and the probation is therefore completed.

         DATED this 16th day of April, 2020.


                                           _/s/Maret Vessella____________________
                                           Maret Vessella
                                           Chief Bar Counsel



   Original electronically filed with the Disciplinary Clerk of
   the Office of the Presiding Disciplinary Judge
   of the Supreme Court of Arizona
   this 16th day of April, 2020.
                                             1
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 55 of 88 PageID# 150




   Copy of the foregoing emailed
   this 16th day of April, 2020, to:

   Jon D. Weiss
   Lewis Roca Rothgerber Christie LLP
   201 E. Washington St, Ste 1200
   Phoenix, AZ 85004-2595
   Email: jweiss@lrrc.com
   Respondent's Counsel

   Lawyer Regulation Records Manager
   State Bar of Arizona
   4201 N. 24th St., Suite 100
   Phoenix, Arizona 85016-6266

   Compliance Monitor
   State Bar of Arizona
   4201 N. 24th St., Suite 100
   Phoenix, Arizona 85016-6266


   by:_/s/Jackie Brokaw_______




                                        2
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 56 of 88 PageID# 151




                                   Exhibit
                  Discharge of Suspension, Commonwealth of Massachusetts
                                      (April 27, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 57 of 88 PageID# 152




                                  COMMONWEALTH
                                           OF MASSACHUSETTS

 SUFFOLK, SS.                                                                SUPREMEJUDICIAL COURT
                                                                             FOR SUFFOLKCOUNTY
                                                                             No; BD-2018-110




                                   IN RE: MARCJOHNRANDAZZA



                                                    ORDER


           This matter      came before          the Court,          Gaziano,      on the motion

  for an order          to enter    that     the    lawyer     is no longer          subject     to the

  twelve      month suspension         imposed by this               Court's     May 14, 2018 Order

  of Term Suspension/Stayed,                 the execution            of which was stayed            for

 eighteen       (18) months        retroactive        to October          10,    2018,     and

  conditioned       upon the lawyer's              compliance         with     the Order     entered       in

  the Supreme Court           of Nevada.           With the Office             of Bar Counsel

  assenting      to the motion         and the       fact     that     execution      of the

  suspension      was stayed,         the lawyer        was never         in fact        suspended     from

  the practice          of law,    therefore        no formal         order     of reinstatement

  is required.

           Upon consideration          thereof,       it    is ORDEREDthat            Marc John

  Randazza      shall     no longer        be subject        to the twelve          (12) month




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                                                                                                        THE COUNTYOF SUFFOLK
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 58 of 88 PageID# 153




  term    suspension   for   the   misconduct   that    gave   rise    to   the   petition

  for    discipline.

                                                       k\he       :ourt,      (Gaziano,      J.)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 59 of 88 PageID# 154




                                Exhibit 1
                            Marc J. Randazza MPRE Score
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 60 of 88 PageID# 155




    •

    •



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Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 61 of 88 PageID# 156




                                        Exhibit 1
       Order of Term Suspension/Stayed, U.S. District Court for the District of Massachusetts
                                        (Sept. 26, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 62 of 88 PageID# 157




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                    )
                                                    )
                                                    )
                  IN RE: MARC J. RANDAZZA           )     MISC. BUSINESS DOCKET
                                                    )      No.: l 8-mc-91490-FDS
                                                    )
                                                    )
                                                    )

                              ORDER OF TERM SUSPENSION/STAYED

             WHEREAS, on March 28, 2019, the United States Patent and Trademark Office has
     cause to file with this Court a certified copy of an Order of Term Suspension/Stayed with respect
     to Attorney MARC J. RANDAZZA;

            I.       WHEREAS, pursuant to Local Rule 83.6.9(b), on September 4, 2019,
                     "Notice of Filing of Disciplinary Action" and "Order to Show Cause"
                     were filed in this Couii and copies sent (along with a copy of the Local
                     Rule) via certified mail to MARC J. RANDAZZA;

             2.      WHEREAS, on September 19, 2019, Attorney James S. Bolan on behalf of
                     MARC J. RANDAZZA filed a Response to Order to Show Cause consenting
                     to reciprocal discipline.

              WHEREFORE, pmsuant to Local Rule 83.6.9(c), this Court hereby imposes the
     identical discipline, and MARC J. RANDAZZA is hereby suspended from this Court for a
     period of twelve (12) months, with the execution of the suspension stayed for a period of
     eighteen (18) months, retroactive to October I 0, 2018, conditioned upon the lawyer's successful
     compliance with the Order entered in the Supreme Court of Nevada.




     Date                                                 F. Dennis Saylor, District Judge
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 63 of 88 PageID# 158




                                    Exhibit 1
            Order Adopting Second Amended and Final Report and Recommendation,
                     U.S. District Court for the Southern District of Florida
                                          (May 8, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 64 of 88 PageID# 159




                                                          UNITED STATES DISTRICT COURT
                                                          SOUTHERN DISTRICT OF FLORIDA

                                                          ADMINISTRATIVE ORDER 2020-29



     In re: MARC JOHN RANDAZZA
                                                                        I
                                                          CASE # 18-MC-25320
                                                                                            CW
                                                                             Fll.£0 ,,,,_____

                                                                                    May 8, 2020
                                                                                                         !'J.C.


            FLORIDA BAR # 625566
     ___________________________________________/
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              ORDER ADOPTING SECOND AMENDED AND FINAL REPORT AND
                               RECOMMENDATION

            On February 6, 2019, this Court asked the Ad Hoc Committee on Attorney Admissions,

     Peer Review, and Attorney Grievance (the “Committee”) to conduct disciplinary proceedings or

     to make recommendations to the Court for appropriate action in light of attorney Marc John

     Randazza’s discipline by the Supreme Court of Nevada.             (ECF No. 8).             Randazza was

     suspended from the practice of law by the Supreme Court of Nevada on October 10, 2018, “for 12

     months, stayed for 18 months.” See In the Matter of Discipline of Randazza, 428 P.3d 260 (2018)

     (“Nevada Order”) (ECF No. 2). This matter initially came to the attention of this Court by letters

     from Randazza on three separate occasions, informing the Court of the Nevada Order. (ECF Nos.

     3-5). Prior to the referral to the Committee, this Court issued an Order to Show Cause for

     Randazza to respond to the Nevada Order.         (ECF No. 6).      Randazza responded that any

     “disciplinary action should be deferred until the successful completion of the period of probation”

     imposed by the Nevada Order. (ECF No. 7). In a Supplement to his Response, Randazza

     informed the Court and Committee that he completed the CLE requirement imposed by the Nevada

     Order and that the United States Court of Appeals for the Eleventh Circuit renewed his admission

     to the bar of that Court despite the Nevada Order. (ECF No. 9).

            On April 1, 2020, after reviewing the record provided by Randazza and having confirmed

     with him that “he is currently in compliance with the requirements of his probation and is unaware

     of the existence of any further disciplinary matters brought against him,” the Committee issued its
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 65 of 88 PageID# 160




     Report and Recommendation, recommending that this Court adopt the same disciplinary

     measures imposed in the Nevada Order in addition to requiring that Randazza confirm in writing

     that he has not been subject to any disciplinary matters since his probation began. (ECF No. 12).

     After the Report and Recommendation was issued, Randazza sent an email to the Committee

     explaining that while he has not been subject to any new discipline and believed that

     the Report and Recommendation was limited to only new discipline, he wanted to update the

     Committee of other reciprocal orders of discipline already imposed upon him from the Bar of

     Massachusetts, the Bar of California, the U.S. District Court for the District of Massachusetts, the

     U.S. District Court for the District of Nevada, and the U.S. Patent and Trademark Office. (ECF

     Nos. 18, 13-17).

            On April 21, 2020, the Committee issued an Amended Report and Recommendation, in

     which it responded to Randazza’s disclosure of reciprocal discipline orders from other courts.

     (ECF No. 19). The Committee found that “[u]nder the applicable rules of this Court, all of these

     suspensions should have been reported as they occurred” pursuant to Rule 8(a) of the Rules

     Governing the Admission, Practice, Peer Review, and Discipline of Attorneys (“Attorney

     Rules”), Local Rules of the United States District Court for the Southern District of Florida.

     Id. As a consequence, the Committee recommended that this Court “continue Mr. Randazza’s

     probation for an additional year, until April 10, 2021,” that Randazza immediately report any

     changes to the reciprocal discipline orders or new discipline imposed from other courts, and

     provide the Court with periodic status reports.       Id.   Randazza responded with a request

     that the Committee withdraw its Amended Report and Recommendation and maintain its

     initial Report and Recommendation or issue a revised Report and Recommendation that does

     not characterize his conduct      as   knowingly     violating   Rule    8(a).     (“Response     to

     Amended Report and Recommendation”) (ECF No. 20).

            On April 28, 2020, the Committee issued a Second Amended and Final Report and

     Recommendation, acknowledging receipt and consideration of Randazza’s Response to Amended
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 66 of 88 PageID# 161
         Case 1:21-cv-02337-ELH Document 4-1 Filed 09/13/21 Page 65 of 87

    Case 1:18-mc-25320 Document 21 Entered on FLSD Docket 05/08/2020 Page 3 of 5


     Report and Recommendation but only modifying its recommendations to the extent of eliminating

     the additional year of probation. (ECF No. 10). Randazza filed a Response to Second Amended

     and Final Report and Recommendation in which he “consents to the discipline and requirements

     recommended by the Committee and respectfully requests that this Court enter an order adopting

     the recommendations.” (ECF No. 11).

              This Court is in agreement with the Committee’s finding that “[u]nder the applicable rules

     of this Court, all of these suspensions should have been reported as they occurred” and that “Mr.

     Randazza should have been aware of his obligation to report these orders when they were issued.”

     (ECF No. 10). Randazza raised the argument that Rule 8(a) only applies to reporting the original

     discipline and that if he had to report all reciprocal discipline in other jurisdictions, “it would mean

     that . . . [he] could be potentially reporting dozens of orders to this Court.” (ECF No. 20). These

     arguments lack merit. Rule 8(a)1, which is the first procedure where discipline is imposed by

     other courts, unequivocally directs members of this Bar to report, without modifier, “discipline,”

     a catch-all to the more specific forms of reprimand, suspension, or disbarment. To infer a

     limitation on “discipline” to only original and not reciprocal discipline would imply an inherent

     exception that is not there. Reciprocal discipline is still discipline. Furthermore, the argument

     about having to “potentially” report “dozens of orders to this Court” is exactly the purpose Rule

     8(a) is intended to serve. While it may be “potentially” burdensome, it is an obligation as a

     member of this Court’s Bar to inform this Court of discipline imposed by other courts so this Court

     is adequately informed of the activities of its members.

              Given this background, in accordance with Rule 8(d) and the Court’s inherent power to

     regulate membership in its bar for the protection of the public interest, see Chambers v. NASCO,



     1 Rule 8(a) in its entirety states: “An attorney admitted to practice before this Court shall, upon being subjected to
     reprimand, discipline, suspension, or disbarment by a court of any state, territory, commonwealth, or possession of
     the United States, or by any other court of the United States or the District of Columbia, shall promptly inform the
     Clerk of the Court of such action.”
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 67 of 88 PageID# 162
         Case 1:21-cv-02337-ELH Document 4-1 Filed 09/13/21 Page 66 of 87

    Case 1:18-mc-25320 Document 21 Entered on FLSD Docket 05/08/2020 Page 4 of 5


     Inc., 501 U.S. 32, 43 (1991) (“[A] federal court has the power to control admission to its bar and

     to discipline attorneys who appear before it.”), having reviewed the file, considered the

     Committee’s Second Amended and Final Report and Recommendation, it is hereby

            ORDERED AND ADJUDGED that the Committee’s Second Amended and Final Report

     and Recommendation is ADOPTED and the matter is CLOSED.

            IT IS FURTHER ORDERED as follows:

            1. This Court ADOPTS the disciplinary measures imposed in the Nevada Order with the

                same probationary requirements set to expire on April 10, 2020;

            2. Randazza is to immediately file notice with this Court under the above case number of

                any changes to his status in Massachusetts, California, Nevada, or any U.S. District or

                Circuit Courts or the U.S. Patent Office;

            3. Randazza is to immediately file notice with this Court under the above case number of

                any discipline recommended in Florida, Arizona, or any other jurisdiction filed by the

                complainant there;

            4. Randazza is to immediately file notice with this Court under the above case number of

                any other matters as required by Rules 8 through 10 of the Attorney Rules; and

            5. Randazza is to provide this Court a status report under the above case number of any

                pending disciplinary charges, reviews or proceedings occurring anywhere on the 90th,

                180th and 270th day from the entry of this Order, with a final status report due on April

                10, 2021.

            DONE and ORDERED in Chambers at Miami, Miami-Dade County, Florida, this 8th day

     of May, 2020.

                                                  ______________________________________
                                                  ___________________
                                                  K. MICHAEL MOORE
                                                  K
                                                  UNITED STATES CHIEF DISTRICT JUDGE

     Copies furnished as follows: See attached
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 68 of 88 PageID# 163




     c:   All South Florida Eleventh Circuit Court of Appeals Judges
          All Southern District Judges
          All Southern District Bankruptcy Judges
          All Southern District Magistrate Judges
          United States Attorney
          Circuit Executive
          Federal Public Defender
          Clerks of Court – District, Bankruptcy and 11th Circuit
          Florida Bar and National Lawyer Regulatory Data Bank
          Library
          Clinton Payne, Chair, Ad Hoc Committee on Attorney Admissions, Peer Review and
                  Attorney Grievance
          Marc John Randazza
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 69 of 88 PageID# 164




                                  Exhibit 1
                       U.S. Patent & Trademark Office Final Order
                                     (July 23, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 70 of 88 PageID# 165




                         UNITED STATES PATENT AND TRADEMARK OFFICE
                                     OFFICE OF THE GENERAL COUNSEL




    July 23, 2019


    Mr. Marc J. Randazza                                CERTIFIED MAIL 7011 c:Jft;t9-()CWO ol~        ~-
    Randazza Legal Group, PLLC                          RETURN RECEIPT REQUESTED
    2764 Lake Sahara Drive, Suite 109
    Las Vegas, Nevada 89117

    PERSONAL AND CONFIDENTIAL
    Re: File No. D2019-25

    FINAL ORDER PURSUANT TO 37 C.F.R. § 11.24

    Dear Mr. Randazza:

    Enclosed please find a service copy of a Final Order signed on behalf of the Under Secretary of
    Commerce for Intellectual Property and Director of the United States Patent and Trademark
    Office.

    The Final Order will be published on the USPTO FOIA web page
    (https://foiadocuments.uspto.gov/oedD and the Notice of Stayed Suspension will be published in
    the Official Gazette.

    If you require any additional information or records, you may contact the Office of Enrollment
    and Discipline at 571-272-4097, or by writing to Mail Stop OED, U.S. Patent and Trademark
    Office, P.O. Box 1450, Alexandria, Virginia 22313-1450.

     Sincerely,




    Associate Counsel
    Office of General Law




                                P.0 Box 1450 / ALEXANDRIA,VA 22313-1450
                                            WWW.USPTO.GOV
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 71 of 88 PageID# 166




                        UNITED STATES PATENTAND TRADEMARKOFFICE
                                BEFORE THE DIRECTOROF THE
                        UNITED STATES PATENTAND TRADEMARKOFFICE

    In the Matter of:                               )
                                                    )
    Marc J. Randazza,                               )             Proceeding No. D2019-25
                                                    )
             Respondent                             )


                           FINAL ORDER PURSUANTTO 37 C.F.R. § 11.24

            Pursuant to 37 C.F.R. § 1l.24(b), Marc J. Randazza ("Respondent") is hereby suspended

    from the practice of trademark and other non-patent law before the United States Patent and

    Trademark Office ("USPTO" or "Office") for one year, stayed for eighteen months subject to

    conditions, for violation of 3 7 C.F .R. § l 1.804(h).

                                                 Background

            By Order dated October 10, 2018, the Supreme Court of the State of Nevada in its order

    in In the Matter of Discipline of Marc J Randazza, Esq., Bar No. 12265, Case No. 76453,

    suspended Respondent for one year, stayed for eighteen months subject to conditions, from the

    practice of law in that jurisdiction.

            On June 11, 2019, a "Notice and Order Pursuant to 37 C.F.R. § 11.24" ("Notice and

    Order"), was sent by certified mail (receipt no. 70172620000001058230) notifying Respondent

    that the Director of the Office of Enrollment and Discipline ("OED Director") had filed a

    "Complaint for Reciprocal Discipline Pursuant to 37 C.F.R. § 11.24" ("Complaint") requesting

    that the Director of the US PTO impose reciprocal discipline upon Respondent identical to the

    discipline imposed by the Supreme Court of the State of Nevada on October 10, 2018 in In the

    Matter of Discipline of Marc J. Randazza, Esq., Bar No. 12265, Case No. 76453. The Notice

    and Order was delivered to Respondent on June 14, 2019.

            The Notice and Order provided Respondent an opportunity to file, within forty (40) days,
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 72 of 88 PageID# 167




    a response opposing the imposition of reciprocal discipline identical to that imposed by the State

    of Nevada, based on one or more of the reasons provided in 37 C.F.R. § l l .24(d)(l).

    Respondent filed a timely letter dated July 15, 2019 responding to the Notice and Order.

                                                  Analysis

           In his response, Respondent indicates that he is "amenable to the imposition of discipline

    identical to that imposed by the Supreme Court of the State of Nevada in In the Matter of

    Discipline ofMarcJ    Randazza, Esq., Bar No. 12265, Case No. 76453." (Ex. 1). He further

    states that he "[does] not believe there is any genuine issue of material fact that the imposition of

    identical discipline would be unwarranted." Id

           Given that Respondent believes that it is appropriate for the USPTO to impose reciprocal

    discipline on the same terms and conditions as those set forth in the October 10, 2018 Order of

    the Supreme Court of the State of Nevada in In the Matter of Discipline of Marc J Randazza,

    Esq., Bar No. 12265, Case No. 76453, it is hereby determined that there is no genuine issue of

    material fact under 37 C.F.R. § 11.24(d), and that it is the appropriate discipline to suspend

    Respondent from the practice of trademark and other non-patent law before the US PTO for one

    year, stayed for eighteen months, subject to Respondent's successful compliance with condition·s

    during the eighteen-month stay, as set by the Supreme Court of the State of Nevada.

           ACCORDINGLY, it is hereby ORDERED that:

           1.    Respondent be, and hereby is, suspended from the practice of trademark and other

    non-patent law before the USPTO for one year, stayed for eighteen months, subject to

    Respondent's successful compliance with conditions during the eighteen-month stay, as set by

    the Supreme Court of the State of_Nevada, effective the date of this Final Order;

           2.    The OED Director publish a notice in the Official Gazette that is materially

    consistent with the following:


                                                      2
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 73 of 88 PageID# 168




                                      Notice of Stayed Suspension

           This notice concerns Marc J. Randazza of Las Vegas, Nevada, who is authorized
           to practice before the Office in trademark and non-patent matters. In a reciprocal
           disciplinaryproceeding, the Director of the United States Patent and Trademark
           Office ("USPTO") has ordered that Mr. Randazzabe suspended from practice
           before the USPTO in trademark and other non-patent matters for one year, stayed
           for eighteen months subject to conditions, for violating 37 C.F.R. § l l .804(h),
           predicatedupon being suspended (stayed) from the practice of law by a duly
           constituted authority of a State. Mr. Randazza is not authorized to practice before
           the Office in patent matters.

           Mr. Randazza was suspended for one year, stayed for eighteen months subject to
           conditions set by the Supreme Court of the State of Nevada, for knowingly
           violating duties owed to his client (conflict of interest) and the legal profession
           (restrictions on the right to practice) arising out of a matter in which Mr.
           Randazza loaned money to his client without informing the client in writing of the
           desirability of obtaining independentcounsel, and by negotiating with opposing
           counsel to receive, as part of a settlement, a retainer for future legal services.

           This action is taken pursuant to the provisions of 35 U.S.C. § 32 and
           37 C.F.R. § 11.24. Disciplinarydecisions are available for public review a~the
           Office of Enrollment and Discipline's FOIA Reading Room, located at:
           https://foiadocuments.uspto.gov/oed/;

           and

           3.    The OED Director give notice pursuant to 37 C.F.R. § 11.59 of the public

    discipline and the reasons for the discipline to disciplinary enforcement agencies in the state(s)

    where Respondent is admitted to practice, to courts where Respondent is known to be admitted,

    and to the public.




                                    David ,Shewchuk
                                    Deputy General Counsel for General Law
                                    United States Patent and Trademark Office

                                    on delegated authority by

                                    Andrei Iancu
                                    Under Secretary of Commerce for Intellectual PropestJ and
                                    Director of the United States Patent and Trademark Office

                                                     3
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 74 of 88 PageID# 169




    cc:

    OED Director

    Mr. Marc J. Randazza
    RandazzaLegal Group,PLLC
    2764 Lake Sahara Drive, Suite 109
    Las Vegas,Nevada 89117




                                        4
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 75 of 88 PageID# 170




                                     CERTIFICATE OF SERVICE

            I hereby certify that the foregoing Final Order Pursuant to 37 C.F.R. § 11.24 was mailed
    by first-class certified mail, return receipt requested, on this day to the Respondent at the address
    listed by the Nevada State Bar for Respondent and to where the OED Director reasonably
    believes Respondent receives mail::

                                          Mr. Marc J. Randazza
                                      Randazza Legal Group, PLLC
                                    2764 Lake Sahara Drive, Suite I 09
                                        Las Vegas, Nevada 89117




    Date       '                                   United tates Patent and Trademark Office
                                                   P.O. Box 1450
                                                   Alexandria, VA 22313-1450




                                                      5
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 76 of 88 PageID# 171




                                     Notice of Stayed Suspension

           This notice concerns Marc J. Randazza of Las Vegas, Nevada, who is authorized
           to practice before the Office in trademark and non-patent matters. In a reciprocal
           disciplinary proceeding, the Director of the United States Patent and Trademark
           Office ("USPTO'') has ordered that Mr. Randazza be suspended from practice
           before the USPTO in trademark and other non-patent matters for one year, stayed
           for eighteen months subject to conditions, for violating 37 C.F.R. § l l.804(h),
           predicated upon being suspended (stayed) from the practice of law by a duly
           constituted authority of a State. Mr. Randazza is not authorized to practice before
           the Office in patent matters.

           Mr. Randazza was suspended for one year, stayed for eighteen months subject to
           conditions set by the Supreme Court of the State of Nevada, for knowingly
           violating duties owed to his client (conflict of interest) and the legal profession
           (restrictions on the right to practice) arising out of a matter in which Mr.
           Randazza loaned money to his client without informing the client in writing of the
           desirability of obtaining independent counsel, and by negotiating with opposing
           counsel to receive, as part of a settlement, a retainer for future legal services.

           This action is taken pursuant to the provisions of 35 U.S.C. § 32 and
           37 C.F .R. § 11.24. Disciplinary decisions are available for public review at the
           Office of Enrollment and Discipline's FOIA Reading Room, located at:
           https://foiadocuments. uspto.gov/oed/.




    Date
                                         Deputy General Counsel for General Law
                                         United States Patent and Trademark Office

                                         on delegated authority by

                                         Andrei Iancu
                                         Under Secretary of Commerce for Intellectual Property and
                                         Director of the United States Patent and Trademark Office
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 77 of 88 PageID# 172




                                       Exhibit 1
        Order Discharging Suspension, U.S. District Court for the District of Massachusetts
                                        (June 23, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 78 of 88 PageID# 173




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                  )
                                                  )
                                                  )
          IN RE:     MARC J. RANDAZZA             )     MISC. BUSINESS DOCKET
                                                  )       No.: 18-mc-91490-FDS
                                                  )
                                                  )
                                                  )

                                               ORDER

          1. WHEREAS, on September 3, 2019, the U.S. Patent and Trademark Office caused o
             be filed with this Court a Final Order suspending Mr. Randazza for one (1) year,
             stayed for eighteen (18) months subject to conditions with respect to MARC J.
             RANDAZZA;

          2. WHEREAS, on September 26, 2019, pursuant to Local Rule 83.6.9(b), a reciprocal
             Order of Term Suspension/Stayed was issued by Chief Judge Saylor IV;

          3. WHEREAS, on April 30, 2020, Attorney Sara Holden representing MARC J.
             RANDAZZA filed an Order notifying the Court that Mr. Randazza has successfully
             completed the conditions of his stayed suspension as set forth in the Nevada Supreme
             Court’s Order retroactive to October 10, 2018;

           WHEREFORE, it is hereby ORDERED that MARC J. RANDAZZA shall no longer be
   subject to the twelve (12) month term suspension for the misconduct that gave rise to the petition
   for discipline.




                                                        /s/ F. Dennis Saylor IV
                                                        F. Dennis Saylor IV
   Dated: June 23, 2020                                 Chief Judge, United States District Court
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 79 of 88 PageID# 174




                                      Exhibit 1
               Order of Suspension, U.S. District Court for the District of Nevada
                                       (Oct. 22, 2019)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 80 of 88 PageID# 175




      1

      2
      3                            UNITED STATES DISTRICT COURT

      4                                   DISTRICT OF NEVADA

      5                                             ***

      6    In re: Marc J. Randazza,                          Case No. 2:19-cv-01765-MMD
           Attorney at Law, Bar No. 12265
      7                                                        ORDER OF SUSPENSION

      8

      9

     10   I.    SUMMARY

     11         This is an attorney discipline matter. Before the Court is

     12

     13   from practice before this Court following the Order Approving Conditional Guilty Plea

     14   Agreement                                                  October 10, 2018. (ECF Nos.

     15   1 (OSC), 3                   .) As further explained below, the Court will suspend Mr.

     16   Randazza from practice before this Court because this Court has neither the obligation,

     17   resources, nor inclination to monitor Mr. Randazza    compliance with the probationary

     18   conditions the NSC imposed on him. However, Mr. Randazza may file a petition for

     19   reinstatement once he has fully discharged those conditions and can produce a certificate

     20   of good standing from the NSC reflecting the same.

     21   II.   BACKGROUND

     22         Mr. Randazza was suspended by the NSC following his conditional guilty plea to

     23   a charge that he

     24   and RPC 5.6 (restrictions on right to practice). (ECF No. 3 at 15.) While Mr. Randazza

     25   suspension was stayed, he is currently subject to several probationary conditions

     26   imposed by the NSC. (Id. at 17.) Until at least April 10, 2020, Mr. Randazza must: (1)

     27                        (2) successfully complete 20 hours of ethics CLE in addition to his

     28   normal CLE requirements; and (3) seek the advice of an independent and unaffiliated
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 81 of 88 PageID# 176




      1   ethics attorney in each relevant jurisdiction before obtaining any conflicts of interest

      2   waivers. (Id. at 3, 15, 17.)

      3          This Court issued the OSC as to why Mr. Randazza should not be suspended from

      4   practice in this Court on September 6, 2019. (ECF No. 1.) Mr. Randazza timely filed his

      5   Response on October 3, 2019. (ECF No. 3.) In his Response, he argues that this Court

      6   should allow him to continue practicing before it because he is still allowed to practice law

      7   before the Nevada state courts, and he is currently complying with the probationary

      8   conditions the NSC imposed on him. (Id. at 3-5.) He also argues that his suspension from

      9   practice by this Court would either be gravely unjust, or his misconduct does not justify

     10   suspension by this Court. (Id. at 3.) He further notes that other federal court have

     11
     12   (Id. at 5-6.)

     13   III.   DISCUSSION

     14          This Court imposes reciprocal discipline on a member of its bar when that person

     15   is suspended or otherwise disciplined by a state court unless

     16   disciplinary adjudication was improper. See In re Kramer, 282 F.3d 721, 724 (9th Cir.

     17   2002). Specifically, the Court will only decline to impose reciprocal discipline if the

     18   attorney subject to discipline presents clear and convincing evidence that:

     19          (A) the procedure in the other jurisdiction was so lacking in notice or opportunity to
                 be heard as to constitute a deprivation of due process; (B) there was such an
     20          infirmity of proof establishing the misconduct as to give rise to a clear conviction

     21          that subject; (C) imposition of like discipline would result in a grave injustice; or (D)
                 other substantial reasons justi
     22          conclusion(s).

     23   LR IA 11-7(e)(3); see also In re Kramer, 282 F.3d at 724-25 (stating that the attorney

     24   bears the burden by clear and convincing evidence).

     25          The Court will suspend Mr. Randazza from practice before this Court because the

     26                                                      Randazza following his conditional guilty

     27   plea appears to have been proper, and he presents no clear and convincing evidence to

     28   the contrary. Procedurally, Mr. Randazza did not submit a certified copy of the entire

                                                         2
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 82 of 88 PageID# 177




      1   record from the NSC or present any argument as to why less than the entire record will

      2   suffice. See LR IA 11-7(e)(3). Substantively, while Mr. Randazza does appear to be

      3   allowed to practice in the Nevada state courts, he is also subject to probationary

      4   conditions that this Court has neither the obligation, resources, nor inclination to monitor.

      5   (ECF No. 3 at 17.) And the Court sees no substantial reasons not to suspend Mr.

      6   Randazza based on its review of the record. See LR IA 11-7(e)(3). The Court will therefore

      7   suspend Mr. Randazza.

      8          That said, Mr. Randazza is free to petition the Court for reinstatement under LR IA

      9   11-7(i) assuming he is able to successfully complete his term of probation with the NSC.

     10   Any petition for reinstatement should not be filed until Mr. Randazza has successfully

     11   discharged each and every probationary condition imposed on him by the NSC, and he

     12   is able to present both a certificate of good standing from the NSC and evidence sufficient

     13   to establish that his practice in the Nevada state courts is fully unencumbered by any

     14   probationary or other conditions stemming from his conditional guilty plea or any other

     15   discipline imposed on him by the NSC.

     16   IV.    CONCLUSION

     17          It is therefore ordered that Marc J. Randazza, Bar No. 12265, is hereby suspended

     18   from practice in the United States District Court for the District of Nevada.

     19          DATED THIS 22nd day of October 2019.

     20
     21
                                                    MIRANDA M. DU
     22                                             CHIEF UNITED STATES DISTRICT JUDGE

     23

     24

     25
     26
     27

     28

                                                       3
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 83 of 88 PageID# 178




                                      Exhibit 1
              Order of Reinstatement, U.S. District Court for the District of Nevada
                                        (June 9, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 84 of 88 PageID# 179

       C se 2:19-cv-01765-MMD *SEALED*            Document 18 Filed 06/09/20       Page 1 of 3


       1

       2

       3                                UNITED STATES DISTRICT COURT

      4                                        DISTRICT OF NEVADA

       5                                                 ***

       6    In re: Marc J. Randazza,                              Case No. 2:19-cv-01765-MMD
            Attorney at Law, Bar No. 12265
       7                                                                     ORDER

      8
      9

      10   I.        SUMMARY
      11             This is an attorney discipline matter. Before the Court is Marc Randazza's petition

      12   for reinstatement (the "Petition"). 1 (ECF No. 14.) As further explained below, the Court

      13   will grant Mr. Randazza's Petition.

      14   II.       BACKGROUND
      15             Mr. Randazza was suspended by the Nevada Supreme Court ("NSC") following

      16   his conditional guilty plea to a charge that he violated "RPC 1.8(a) (conflict of interest:

      17   current clients: specific rules) and RPC 5.6 (restrictions on right to practice)." (ECF No. 3

      18   at 15.)

      19             Upon receiving notice of his suspension by the NSC, the Court issued an order to

     20    show cause why Mr. Randazza should not also be suspended by this Court. (ECF No. 1

     21    ("OSC").) Mr. Randazza filed a response to the OSC, arguing he should not be suspended

     22    by this Court. (ECF No. 3.) The Court nonetheless suspended him because he remained

     23    subject to probationary conditions imposed by the NSC. (ECF No. 5 (the "Suspension

     24    Order").) Mr. Randazza then filed an emergency motion to alter or amend the Suspension

     25    Order (ECF No. 8), which the Court denied (ECF No. 12).2

     26
     27          1Mr. Randazza also filed an emergency motion for a hearing on his Petition. (ECF
           No. 17.) Because the Court will grant the Petition, the Court will deny the emergency
     28    motion for a hearing as moot.
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 85 of 88 PageID# 180

        C se 2:19-cv-01765-MMD *SEALED*           Document 18 Filed 06/09/20     Page 2 of 3


       1          The Petition followed. 3 (ECF No. 14.) In his Petition, Mr. Randazza asks to be

       2   reinstated primarily because he has successfully discharged the NSC's probationary

       3   conditions. (Id. at 2.) In most pertinent part, he attached a letter from the State Bar of

       4   Nevada confirming that he has successfully discharged the probationary conditions the

       5   NSC imposed on him. (Id. at 16.) Mr. Randazza also submitted a declaration explaining

       6   he has clients with cases in this district who would like him to represent them (id. at 11-

       7   14), and some declarations from some of his clients explaining they would like Mr.

       8   Randazza to represent them (id. at 19-26). Mr. Randazza previously submitted a current

       9   certificate of good standing from the State Bar of Nevada. (ECF No. 10-3.)

      10   Ill.   DISCUSSION

      11          Local Rule IA 11-7(i) states that an attorney who is the subject of an order of

      12   suspension "may petition for reinstatement to practice before this court or for modification

      13   of the order as may be supported by good cause and the interests of justice." LR IA 11-

      14   7(i). The Rule further provides: "if the attorney was readmitted by the supervising court or

      15   the discipline imposed by the supervising court was modified or satisfied, the petition must

      16   explain the situation with specificity, including a description of any restrictions or

      17   conditions imposed on readmission by the supervising court." Id. However, the decision

      18   as to whether and under what circumstances the attorney will be reinstated to practice

      19   before this Court is left to the discretion of the Chief Judge, or other reviewing Judge if

      20   the Chief Judge refers the matter to another judge. See id.; see also LR IA 11-7(a).

      21          The Court will grant the Petition because Mr. Randazza has sufficiently

      22   demonstrated he successfully discharged the NSC's probationary conditions and is an

      23   attorney in good standing with the State Bar of Nevada. (ECF Nos. 10-3, 14 at 16.)

      24

      25          2 The Court issued this order on November 27, 2019, and received a certified mail
           receipt indicating it was mailed to Mr. Randazza's counsel that same day. (ECF No. 13.)
      26   However, both Mr. Randazza and his counsel claim they never received that order. (ECF
           Nos. 15 (minute order explaining in response to a letter from Mr. Randazza's counsel
      27   inquiring about a ruling on the emergency motion to alter or amend judgment that the
           Court had already issued an order denying it on November 27, 2019), 17 at 4, 17-1 at 3.)
      28
                  3 Mr.   Randazza followed up with a letter as well. (ECF No. 16.)
                                                         2
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 86 of 88 PageID# 181

       C se 2:19-cv-01765-MMD *SEALED*        Document 18 Filed 06/09/20 Page 3 of 3


      1   Moreover, Mr. Randazza's Petition demonstrates understanding of the Court's prior

      2   Suspension Order granting him leave to petition this Court for reinstatement once he

      3   could show that he is able to practice in Nevada state courts unencumbered by any

      4   probationary conditions. (ECF No. 5 at 3.) The Court thus finds that Mr. Randazza has

      5   shown cause to be readmitted to the bar of this Court.

      6   IV.   CONCLUSION

      7          It is therefore ordered that Mr. Randazza's renewed petition for reinstatement (ECF

      8   No. 14) is granted.

      9          It is further ordered that Mr. Randazza's emergency motion for a hearing (ECF No.

     10   17) is denied as moot.

     11          DATED THIS 9th day of June 2020.

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                                                   MIRANDA M. DU
     14                                            CHIEF UNITED STATES DISTRICT JUDGE

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Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 87 of 88 PageID# 182




                                        Exhibit 1
         Order of Termination of Proceedings, U.S. Court of Appeals for the Federal Circuit
                                         (May 28, 2020)
Case 1:22-cv-00352-RDA-IDD Document 10-1 Filed 05/10/22 Page 88 of 88 PageID# 183

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                                                                     PETER
                                                                         R.MARKSTEINER
                                                                          CLERK

                         NOTE:   This order is nonprecedential.


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                            IN RE MARCJ. RANDAZZA,
                                   Respondent.


                                      2018-MA014

                                       ORDER
                   In light of the court's January 3, 2020 order and Marc
               J. Randazza's submission received May 26, 2020,
                   IT Is ORDERED THAT:
                   These proceedings are terminated.
                                                FOR THE COURT


                                                Isl Peter R. Marksteiner
                                                Peter R. Marksteiner
                                                Clerk of Court
